                                                                                   CLOSED,APPEAL
                           U.S. District Court
                     DISTRICT OF KANSAS (Wichita)
           CRIMINAL DOCKET FOR CASE #: 6:21−cr−10073−EFM−1

Case title: USA v. Capps                                  Date Filed: 09/08/2021

                                                          Date Terminated: 05/12/2023

Assigned to: Chief District Judge
Eric F. Melgren
Appeals court case numbers:
23−3095 10CCA, 24−3083
10CCA, 24−3204 10CCA

Defendant (1)
Michael R. Capps                    represented by Michael R. Capps
E−Filing & ECF Notifications                       1611 S Utica Ave
TERMINATED: 05/12/2023                             Pmb 328
                                                   Tulsa, OK 74107
                                                   316−371−3768
                                                   Email: cappsm@gmail.com
                                                   PRO SE
                                                   Bar Number:
                                                   Bar Status:

                                                 Jacob Rasch−Chabot
                                                 Office of Federal Public Defender − Denver
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                                                 Denver, CO 80202−3610
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                                                 Fax: 303−294−1192
                                                 Alternative Phone:
                                                 Cell Phone:
                                                 Email: Jacob.Rasch−Chabot@fd.org
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Public Defender or Community
                                                 Defender Appointment
                                                 Bar Number:
                                                 Bar Status: Government Atty

                                                 Kurt P. Kerns
                                                 Kerns Law Group
                                                 328 North Main
                                                 Wichita, KS 67202
                                                 316−265−5511
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                                                                                                   1
                                    Alternative Phone:
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                                    TERMINATED: 05/30/2023
                                    Designation: Retained
                                    Bar Number: 15028
                                    Bar Status: Active

Pending Counts                      Disposition
18:1014 False statement to a bank   Sentenced to 27 months imprisonment and 2 years
for a PPP loan; 18:2 Aiding and     supervised release on Cts. 1, 2, 4, 5, 7, 8, 9, 10, 12,
abetting (INDICTMENT                13, 14, & 15,each count running concurrently.
9/8/2021)                           $1200.00 special assessment fee. $318,647.21
(1)                                 restitution
                                    Sentenced to 27 months imprisonment and 2 years
18:1344(2) Bank fraud−PPP loan;
                                    supervised release on Cts. 1, 2, 4, 5, 7, 8, 9, 10, 12,
18:2 Aiding and abetting
                                    13, 14, & 15,each count running concurrently.
(INDICTMENT 9/8/2021)
                                    $1200.00 special assessment fee. $318,647.21
(2)
                                    restitution
18:1001(a) False statement to the   Sentenced to 27 months imprisonment and 2 years
SBA for EIDL loan 18:2 Aiding       supervised release on Cts. 1, 2, 4, 5, 7, 8, 9, 10, 12,
and abetting (INDICTMENT            13, 14, & 15,each count running concurrently.
9/8/2021)                           $1200.00 special assessment fee. $318,647.21
(4−5)                               restitution
                                    Sentenced to 27 months imprisonment and 2 years
18:1343 Wire fraud, SBA; 18:2
                                    supervised release on Cts. 1, 2, 4, 5, 7, 8, 9, 10, 12,
Aiding and abetting
                                    13, 14, & 15,each count running concurrently.
(INDICTMENT 9/8/2021)
                                    $1200.00 special assessment fee. $318,647.21
(7−8)
                                    restitution
18:1343 Wire fraud, Kansas          Sentenced to 27 months imprisonment and 2 years
Department of Commerce; 18:2        supervised release on Cts. 1, 2, 4, 5, 7, 8, 9, 10, 12,
Aiding and abetting                 13, 14, & 15,each count running concurrently.
(INDICTMENT 9/8/2021)               $1200.00 special assessment fee. $318,647.21
(9−10)                              restitution
                                    Sentenced to 27 months imprisonment and 2 years
18:1957 Money laundering; 18:2
                                    supervised release on Cts. 1, 2, 4, 5, 7, 8, 9, 10, 12,
Aiding and abetting
                                    13, 14, & 15,each count running concurrently.
(INDICTMENT 9/8/2021)
                                    $1200.00 special assessment fee. $318,647.21
(12−14)
                                    restitution
                                    Sentenced to 27 months imprisonment and 2 years
18:1957 Money laundering; 18:2
                                    supervised release on Cts. 1, 2, 4, 5, 7, 8, 9, 10, 12,
Aiding and abetting
                                    13, 14, & 15,each count running concurrently.
(INDICTMENT 9/8/2021)
                                    $1200.00 special assessment fee. $318,647.21
(15)
                                    restitution

Highest Offense Level
(Opening)


                                                                                              2
Felony

Terminated Counts                          Disposition
18:1001(a) False statement to the
SBA for EID loan 18:2 Aiding
and abetting (INDICTMENT                   Acquitted
9/8/2021)
(3)
18:1343 Wire fraud, SBA; 18:2
Aiding and abetting
                                           Acquitted
(INDICTMENT 9/8/2021)
(6)
18:1343 Wire fraud, Sedgwick
County; 18:2 Aiding and abetting
                                           Dismissed per the Order filed 12/13/2022.
(INDICTMENT 9/8/2021)
(11)
18:1957 Money laundering; 18:2
Aiding and abetting
                                           Acquitted
(INDICTMENT 9/8/2021)
(16−19)

Highest Offense Level
(Terminated)
Felony

Complaints                                 Disposition
None



Garnishee
Northwestern Mutual
Beneficiary & Title
720 E Wisconsin Ave
Milwaukee, WI 53202
TERMINATED: 09/07/2023



Garnishee
Ohio National Life Assurance Corporation
One Financial Way
Cincinnati, OH 45242
TERMINATED: 09/07/2023



Garnishee


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310 W. Central Ave.
Wichita, KS 67202−1004



Garnishee
Coinbase, Inc.
c/o Corporation Service Company
1100 SW Wanamaker Rd., Ste. 201
Topeka, KS 66604



Garnishee
Security 1st Title, LLC
c/o David Armagost, Resident Agent
727 N. Waco
Suite 300
Wichita, KS 67203



Claimant
Charles Capps                        represented by Ted E. Knopp
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Movant
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                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
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Plaintiff
USA         represented by Alan G. Metzger
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                           Bar Status: Active

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                                                                        5
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                                                             Designation: Retained
                                                             Bar Number: 17222
                                                             Bar Status: Active

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                                                             Bar Status: Active

                                                             Molly M. Gordon
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                                                             ATTORNEY TO BE NOTICED
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                                                             Bar Number: 23134
                                                             Bar Status: Active
Email All Attorneys
Email All Attorneys and Additional Recipients

Date Filed       #   Docket Text
09/08/2021       1   INDICTMENT as to Michael R. Capps (1) − counts 1−19. (sz) (Entered: 09/09/2021)
09/09/2021           SUMMONS ISSUED as to Michael R. Capps Initial Appearance set for 9/22/2021 at
                     01:30 PM by Zoom before Magistrate Judge Gwynne E. Birzer. (Pretrial form
                     provided to USMS)(sz) (Entered: 09/09/2021)
09/10/2021       2   SUMMONS RETURNED EXECUTED on 9/10/2021 as to Michael R. Capps. (jk)
                     (Entered: 09/10/2021)
09/21/2021       3   ENTRY OF APPEARANCE by attorney Kurt P. Kerns appearing for Michael R.
                     Capps. (Kerns, Kurt) (Entered: 09/21/2021)



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09/21/2021   4    CONSENT TO APPEAR BY VIDEO OR TELEPHONE CONFERENCE for initial
                  appearance, arraignment and detention hearing as to Michael R. Capps. (Kerns, Kurt)
                  Modified on 9/22/2021 to add additional hearings. (mam) (Entered: 09/21/2021)
09/22/2021    5   (NOTE: Access to document is restricted pursuant to the courts privacy policy.)

                  NOTICE OF SURRENDERED PASSPORT as to Michael R. Capps. (Passport
                  Number 640927769, issued by USA.) (mam) (Entered: 09/22/2021)
09/22/2021    6   MINUTE ENTRY for proceedings held before Magistrate Judge Gwynne E. Birzer:
                  RULE 5/INITIAL APPEARANCE and ARRAIGNMENT as to Michael R. Capps
                  held on 9/22/2021 by ZOOM, Count(s) 1,2,3,4−5,6−8,9−10,11,12−19. Due Process
                  Protections Act advisement given. The Government adopted the recommendations of
                  Pretrial Services for release on conditions. Defendant provided verbal consent for
                  Zoom. Defendant's next appearance per the Scheduling Order of Judge Melgren.
                  (Tape #1:31−1:41) (sz) (Entered: 09/23/2021)
09/22/2021    7   ORDER SETTING CONDITIONS OF RELEASE as to Michael R. Capps (1) −
                  $25,000 unsecured bond. Signed by Magistrate Judge Gwynne E. Birzer on
                  9/22/2021. (sz) (Entered: 09/24/2021)
09/23/2021        ORDER as to Michael R. Capps − Pursuant to the Due Process Protections Act, the
                  government is reminded of its obligations pursuant to Brady v. Maryland and its
                  progeny to disclose material that is favorable to the defendant and material to
                  defendants guilt or punishment. The failure to do so in a timely manner may include
                  dismissal of the indictment or information, dismissal of individual charges, exclusion
                  of government evidence or witnesses, or any other remedy that is just under the
                  circumstances. Signed by Magistrate Judge Gwynne E. Birzer on 9/22/21. (This is a
                  TEXT ENTRY ONLY. There is no.pdf document associated with this entry.) (ala)
                  (Entered: 09/23/2021)
09/24/2021    8   BOND POSTED as to Michael R. Capps. (sz) (Entered: 09/24/2021)
09/27/2021    9   PRETRIAL AND CRIMINAL CASE MANAGEMENT ORDER ENTERED: as to
                  Michael R. Capps. Status Conference set for 11/8/2021 at 10:15 AM in Wichita
                  Room 414 (EFM) before District Judge Eric F. Melgren. Jury Trial set for
                  11/23/2021 at 09:00 AM in Wichita Courtroom 408 (EFM) before District Judge Eric
                  F. Melgren. Signed by District Judge Eric F. Melgren on 9/27/2021. (cm) (Entered:
                  09/27/2021)
10/27/2021   10   MOTION to Continue Status Conference and Jury Trial by Michael R. Capps.
                  (Kerns, Kurt) (Entered: 10/27/2021)
10/28/2021   11   ORDER TO CONTINUE granting 10 Motion to Continue. Speedy Trial time
                  excluded from 11/23/2021 until 1/25/2022 as to Michael R. Capps (1). Status
                  Conference set for 1/12/2022 at 08:45 AM in Wichita Room 414 (EFM) before
                  District Judge Eric F. Melgren. Jury Trial set for 1/25/2022 at 09:00 AM in Wichita
                  Courtroom 408 (EFM) before District Judge Eric F. Melgren. Signed by District
                  Judge Eric F. Melgren on 10/28/2021. (sz) (Entered: 10/28/2021)
01/07/2022   12   MOTION to Continue Status Conference and Jury Trial by Michael R. Capps.
                  (Kerns, Kurt) (Entered: 01/07/2022)
01/10/2022   13   ORDER TO CONTINUE granting 12 Motion to Continue. Speedy Trial time
                  excluded from 1/12/2022 until 3/29/2022 as to Michael R. Capps (1). Status


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                  Conference set for 3/14/2022 at 08:15 AM in Wichita Room 414 (EFM) before Chief
                  District Judge Eric F. Melgren. Jury Trial set for 3/29/2022 at 09:00 AM in Wichita
                  Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren. Signed by Chief
                  District Judge Eric F. Melgren on 1/10/2022. (sz) (Entered: 01/10/2022)
03/02/2022   14   JOINT MOTION to Continue Status Conference and Jury Trial by Michael R. Capps.
                  (Kerns, Kurt) (Entered: 03/02/2022)
03/03/2022   15   ORDER TO CONTINUE granting 14 Motion to Continue. Speedy Trial time
                  excluded from 3/14/2022 until 6/7/2022 as to Michael R. Capps (1). Status
                  Conference set for 5/31/2022 at 10:00 AM in Wichita Room 414 (EFM) before Chief
                  District Judge Eric F. Melgren. Jury Trial set for 6/7/2022 at 09:00 AM in Wichita
                  Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren. Signed by Chief
                  District Judge Eric F. Melgren on 3/3/2022. (sz) (Entered: 03/03/2022)
03/03/2022   16   NOTICE OF HEARING as to Defendant Michael R. Capps. THIS IS AN
                  OFFICIAL NOTICE FOR THIS HEARING. (This is a TEXT ENTRY ONLY. There
                  is no.pdf document associated with this entry.) Due to a conflict on the court's
                  calendar, the Status Conference is reset for 6/1/2022 at 01:30 PM in Wichita Room
                  414 (EFM) before Chief District Judge Eric F. Melgren. (cm) (Entered: 03/03/2022)
05/04/2022   17   MOTION to Continue Status Conference and Jury Trial by Michael R. Capps.
                  (Kerns, Kurt) (Entered: 05/04/2022)
05/05/2022   18   ORDER TO CONTINUE granting 17 Motion to Continue. Speedy Trial Time
                  excluded from 6/1/2022 until 8/16/2022 as to Michael R. Capps (1). Status
                  Conference set for 8/5/2022 at 02:00 PM in Wichita Room 414 (EFM) before Chief
                  District Judge Eric F. Melgren. Jury Trial set for 8/16/2022 at 09:00 AM in Wichita
                  Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren. Signed by Chief
                  District Judge Eric F. Melgren on 5/5/2022. (sz) (Entered: 05/05/2022)
07/08/2022   19   MOTION to Continue Status Conference and Jury Trial by Michael R. Capps.
                  (Kerns, Kurt) (Entered: 07/08/2022)
07/11/2022   20   MOTION to Continue Status Conference and Jury Trial by USA as to Michael R.
                  Capps. (Metzger, Alan) (Entered: 07/11/2022)
07/12/2022   21   ORDER TO CONTINUE granting 19 Motion to Continue as to Michael R. Capps
                  (1); finding as moot 20 Motion to Continue as to Michael R. Capps (1). Status
                  Conference set for 10/31/2022 at 09:45 AM in Wichita Room 414 (EFM) before
                  Chief District Judge Eric F. Melgren. Jury Trial set for 11/15/2022 at 09:00 AM in
                  Wichita Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren. Signed
                  by Chief District Judge Eric F. Melgren on 7/12/2022. (sz) (Entered: 07/12/2022)
10/26/2022   22   MOTION in Limine by USA as to Michael R. Capps. (Attachments: # 1 Attachment
                  1, # 2 Attachment 2, # 3 Attachment 3, # 4 Attachment 4, # 5 Attachment 5, # 6
                  Attachment 6, # 7 Attachment 7, # 8 Attachment 8)(Metzger, Alan) (Entered:
                  10/26/2022)
10/26/2022   23   SEALED MOTION for Leave to File Under Seal Motion in Limine by USA as to
                  Michael R. Capps. (Attachments: # 1 Proposed Sealed Document, # 2 Proposed
                  Sealed Document Exhibit 10, # 3 Proposed Sealed Document Exhibit 15, # 4
                  Proposed Sealed Document Exhibit 23)(Metzger, Alan) (Entered: 10/26/2022)
10/27/2022   24   ORDER granting 23 Sealed Motion for Leave to File Under Seal. Counsel is directed
                  to file forthwith the requested document(s) with an event from the SEALED

                                                                                                        8
                  DOCUMENTS category as to Michael R. Capps (1) Signed by Chief District Judge
                  Eric F. Melgren on 10/27/2022. (This is a TEXT ENTRY ONLY. There is no.pdf
                  document associated with this entry.) (cm) (Entered: 10/27/2022)
10/27/2022   25   SEALED MOTION in Limine by USA as to Michael R. Capps. (Attachments: # 1
                  Exhibit 10, # 2 Exhibit 15, # 3 Exhibit 23)(Metzger, Alan) (Entered: 10/27/2022)
10/28/2022   26   AMENDED MOTION in Limine by USA as to Michael R. Capps. (Attachments: # 1
                  Attachment 1, # 2 Attachment 2, # 3 Attachment 3, # 4 Attachment 4, # 5 Attachment
                  5, # 6 Attachment 6, # 7 Attachment 7, # 8 Attachment 8, # 9 Attachment
                  9)(Metzger, Alan) (Entered: 10/28/2022)
10/31/2022   27   MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren:
                  STATUS CONFERENCE as to Michael R. Capps held on 10/31/2022. (This is a
                  TEXT ENTRY ONLY. There is no.pdf document associated with this entry.) (cm)
                  (Entered: 10/31/2022)
10/31/2022   28   MOTION to Continue Jury Trial by Michael R. Capps. (Kerns, Kurt) (Entered:
                  10/31/2022)
10/31/2022   29   ORDER granting 28 Motion to Continue Jury Trial. Speedy trial time excluded from
                  11/15/2022 until 12/20/2022 as to Michael R. Capps (1). Jury Trial is reset for
                  12/20/2022 at 09:00 AM in Wichita Courtroom 408 (EFM) before Chief District
                  Judge Eric F. Melgren. Signed by Chief District Judge Eric F. Melgren on
                  10/31/2022. (mam) (Entered: 10/31/2022)
10/31/2022   30   ORDER as to Michael R. Capps re 26 Amended MOTION in Limine filed by USA.
                  At the direction of Chief Judge Eric F. Melgren, defendant will file a response to the
                  Amended Motion in Limine on or before 11/7/2022. Signed by Chief District Judge
                  Eric F. Melgren on 10/31/2022. (This is a TEXT ENTRY ONLY. There is no.pdf
                  document associated with this entry.) (cm) (Entered: 10/31/2022)
10/31/2022   31   ORDER granting in part and denying in part 25 Sealed Motion as to Michael R.
                  Capps (1). Signed by Chief District Judge Eric F. Melgren on 10/31/2022. (ca)
                  (Entered: 10/31/2022)
11/01/2022   32   NOTICE OF HEARING as to Defendant Michael R. Capps. THIS IS AN
                  OFFICIAL NOTICE FOR THIS HEARING. (This is a TEXT ENTRY ONLY. There
                  is no.pdf document associated with this entry.) Jury Trial set for 12/12/2022 at 09:00
                  AM in Wichita Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren.
                  Jury Trial set for 12/14/2022, 12/15/2022, and 12/19/2022 at 08:30 AM in Wichita
                  Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren. (cm) (Entered:
                  11/01/2022)
11/17/2022   33   UNOPPOSED MOTION in Limine by USA as to Michael R. Capps. (Metzger, Alan)
                  (Entered: 11/17/2022)
11/17/2022   34   TRIAL ORDER estimated trial time 4 days as to Michael R. Capps. In Limine/Jury
                  Instructions Conference set for 12/2/2022 at 01:30 PM in Wichita Courtroom 408
                  (EFM) before Chief District Judge Eric F. Melgren. Signed by Chief District Judge
                  Eric F. Melgren on 11/17/2022. (cm) (Entered: 11/17/2022)
11/17/2022   35   ORDER granting 33 Motion in Limine as to Michael R. Capps (1). Exhibit 29 may
                  be admitted into evidence during the trial of this matter without the necessity of a
                  sponsoring/foundation witness. Signed by Chief District Judge Eric F. Melgren on
                  11/17/2022. (sz) (Entered: 11/17/2022)

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11/28/2022   36   EXHIBIT LIST by USA as to Michael R. Capps. (Metzger, Alan) (Entered:
                  11/28/2022)
11/28/2022   37   WITNESS LIST by USA as to Michael R. Capps. (Metzger, Alan) (Entered:
                  11/28/2022)
11/29/2022   38   AMENDED EXHIBIT LIST by USA as to Michael R. Capps. (Metzger, Alan)
                  (Entered: 11/29/2022)
11/30/2022   39   PROPOSED JURY INSTRUCTIONS by USA as to Michael R. Capps. (Metzger,
                  Alan) (Entered: 11/30/2022)
11/30/2022   40   ENTRY OF APPEARANCE on behalf of USA by Molly M. Gordon. (Gordon,
                  Molly) (Entered: 11/30/2022)
11/30/2022   41   PROPOSED JURY INSTRUCTIONS by Michael R. Capps. (Kerns, Kurt) (Entered:
                  11/30/2022)
11/30/2022   42   PROPOSED VOIR DIRE QUESTIONS by USA as to Michael R. Capps. (Metzger,
                  Alan) (Entered: 11/30/2022)
11/30/2022   43   EXHIBIT LIST by Michael R. Capps. (Kerns, Kurt) (Entered: 11/30/2022)
11/30/2022   44   WITNESS LIST by Michael R. Capps. (Kerns, Kurt) (Entered: 11/30/2022)
11/30/2022   45   PROPOSED VOIR DIRE QUESTIONS by Michael R. Capps. (Kerns, Kurt)
                  (Entered: 11/30/2022)
12/02/2022   46   MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren:
                  granting 26 Motion in Limine as to Michael R. Capps (1); finding as moot 22 Motion
                  in Limine as to Michael R. Capps (1); PRETRIAL CONFERENCE as to Michael R.
                  Capps held on 12/2/2022. (Court Reporter Jo Wilkinson) (This is a TEXT ENTRY
                  ONLY. There is no.pdf document associated with this entry.) (cm) (Entered:
                  12/02/2022)
12/05/2022   47   SUPPLEMENTAL PROPOSED JURY INSTRUCTION by USA as to Michael R.
                  Capps. (Metzger, Alan) (Entered: 12/05/2022)
12/05/2022   48   NOTICE OF HEARING as to Defendant Michael R. Capps. THIS IS AN
                  OFFICIAL NOTICE FOR THIS HEARING. (This is a TEXT ENTRY ONLY. There
                  is no.pdf document associated with this entry.) In Court/Jury Instructions Conference
                  set for 12/9/2022 at 09:00 AM in Wichita Courtroom 408 (EFM)before Chief District
                  Judge Eric F. Melgren. (cm) (Entered: 12/05/2022)
12/05/2022   49   AMENDED EXHIBIT LIST by Michael R. Capps. (Kerns, Kurt) (Entered:
                  12/05/2022)
12/06/2022   50   AMENDED WITNESS LIST by USA as to Michael R. Capps. (Metzger, Alan)
                  (Entered: 12/06/2022)
12/06/2022   51   SECOND SUPPLEMENTAL PROPOSED JURY INSTRUCTION by USA as to
                  Michael R. Capps. (Metzger, Alan) (Entered: 12/06/2022)
12/06/2022   52   PROPOSED FORFEITURE JURY INSTRUCTIONS by USA as to Michael R.
                  Capps. (Metzger, Alan) (Entered: 12/06/2022)
12/07/2022   53   MOTION in Limine to Bar Expert Testimony by Michael R. Capps. (Kerns, Kurt)
                  (Entered: 12/07/2022)

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12/07/2022   54   NOTICE OF HEARING as to Defendant Michael R. Capps. THIS IS AN
                  OFFICIAL NOTICE FOR THIS HEARING. (This is a TEXT ENTRY ONLY. There
                  is no.pdf document associated with this entry.) In Court/Jury Instructions Conference
                  set for 12/9/2022 at 09:00 AM in Wichita Room 414 (EFM)before Chief District
                  Judge Eric F. Melgren. NOTE: THIS IS A LOCATION CHANGE ONLY. (cm)
                  (Entered: 12/07/2022)
12/08/2022   55   AMENDED WITNESS LIST by Michael R. Capps. (Kerns, Kurt) (Entered:
                  12/08/2022)
12/08/2022   56   RESPONSE TO MOTION by USA as to Michael R. Capps re 53 Motion in Limine
                  to Bar Expert Testimony. (Metzger, Alan) (Entered: 12/08/2022)
12/09/2022   57   UNOPPOSED MOTION to Dismiss Count 11 by USA as to Michael R. Capps.
                  (Metzger, Alan) (Entered: 12/09/2022)
12/09/2022   60   MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren:
                  IN COURT/JURY INSTRUCTIONS CONFERENCE as to Michael R. Capps held
                  on 12/9/2022. (Court Reporter Jo Wilkinson) (This is a TEXT ENTRY ONLY. There
                  is no.pdf document associated with this entry.) (cm) (Entered: 12/14/2022)
12/12/2022   58   MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren:
                  JURY TRIAL as to Michael R. Capps held on 12/12/2022. (Court Reporter Jo
                  Wilkinson) (This is a TEXT ENTRY ONLY. There is no.pdf document associated
                  with this entry.) (cm) (Entered: 12/12/2022)
12/13/2022   59   ORDER granting without prejudice 57 Unopposed Motion to Dismiss Count 11 as to
                  Michael R. Capps (1). Signed by Chief District Judge Eric F. Melgren on 12/12/2022.
                  (mam) (Entered: 12/13/2022)
12/14/2022   61   MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren:
                  JURY TRIAL as to Michael R. Capps held on 12/14/2022. (Court Reporter Jo
                  Wilkinson) (This is a TEXT ENTRY ONLY. There is no.pdf document associated
                  with this entry.) (cm) (Entered: 12/14/2022)
12/15/2022   62   MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren:
                  JURY TRIAL as to Michael R. Capps held on 12/15/2022. (Court Reporter Jo
                  Wilkinson) (This is a TEXT ENTRY ONLY. There is no.pdf document associated
                  with this entry.) (cm) (Entered: 12/15/2022)
12/18/2022   63   MOTION to Read Instructions to Jury at Close of Evidence by Michael R. Capps.
                  (Kerns, Kurt) Modified on 12/19/2022 to re−title. (mam) (Entered: 12/18/2022)
12/19/2022   64   SECOND AMENDED EXHIBIT LIST by Michael R. Capps. (Kerns, Kurt)
                  (Entered: 12/19/2022)
12/19/2022   65   ORDER denying, in open court, 63 Motion for Order as to Michael R. Capps (1)
                  Signed by Chief District Judge Eric F. Melgren on 12/19/2022. (This is a TEXT
                  ENTRY ONLY. There is no.pdf document associated with this entry.) (cm) (Entered:
                  12/19/2022)
12/19/2022   66   ORDER for Juror Lunch as to Michael R. Capps. Signed by Chief District Judge Eric
                  F. Melgren on 12/19/2022. (cm) (Entered: 12/19/2022)
12/19/2022   67   TRANSCRIPT of Jury Trial, Excerpt of James Clendenin, held 12−14−22 as to
                  Michael R. Capps before Judge Eric F. Melgren, Court Reporter Jo Wilkinson,


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                  316−315−4334, jo_wilkinson@ksd.uscourts.gov. Transcript purchased by: Mr. Dion
                  Lefler, Wichita Eagle.

                  NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days of this
                  filing, each party shall inform the Court, by filing a Notice of Intent to Redact,
                  of the party's intent to redact personal data identifiers from the electronic
                  transcript of the court proceeding. The policy is located on our website at
                  www.ksd.uscourts.gov. Please read this policy carefully. If no Notice of Intent to
                  Redact is filed within the allotted time, this transcript will be made
                  electronically available on the date set forth below.

                  Transcript may be viewed at the court public terminal or purchased through the Court
                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                  that date it may be obtained through the Court Reporter or PACER. Release of
                  Transcript Restriction set for 3/20/2023. (jw) (Entered: 12/19/2022)
12/19/2022   68   MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren:
                  JURY TRIAL as to Michael R. Capps held on 12/19/2022. (Court Reporter Jo
                  Wilkinson) (This is a TEXT ENTRY ONLY. There is no.pdf document associated
                  with this entry.) (cm) (Entered: 12/19/2022)
12/19/2022   69   INSTRUCTIONS TO THE JURY as to Michael R. Capps. (sz) (Entered:
                  12/20/2022)
12/21/2022   70   QUESTIONS FROM THE JURY filed as to Michael R. Capps. (kas) (Entered:
                  12/21/2022)
12/21/2022   71   ORDER as to Michael R. Capps. Lunch ordered for jurors during deliberations.
                  Signed by Chief District Judge Eric F. Melgren on 12/21/2022. (cm) (Entered:
                  12/21/2022)
12/21/2022   72   MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren:
                  JURY TRIAL as to Michael R. Capps concluded on 12/21/2022. (Court Reporter Jo
                  Wilkinson) (Attachments: # 1 Witness Sheet, # 2 Exhibit List Plaintiff's, # 3 Exhibit
                  List Defendant's) (cm) (Entered: 12/22/2022)
12/21/2022   73   JURY VERDICT as to Michael R. Capps (1). Defendant found Guilty on Counts
                  1−2, 4−5, 7−10 and 12−15; Not Guilty on Counts 3, 6 and 16−19. (mam) (Additional
                  attachment(s) added on 12/22/2022: # 1 Unredacted Verdict) (mam). (Entered:
                  12/22/2022)
12/21/2022   74   FORFEITURE INSTRUCTIONS TO THE JURY as to Michael R. Capps. Signed by
                  District Judge Eric F. Melgren on 12/21/2022. (mam) (Entered: 12/22/2022)
12/21/2022   75   SPECIAL VERDICT FORM FOR FORFEITURE as to Michael R. Capps. (mam)
                  (Additional attachment(s) added on 12/22/2022: # 1 Unredacted Special Verdict
                  Form) (mam). (Entered: 12/22/2022)
12/27/2022   76   TRANSCRIPT of Excerpt of Jury Trial, Defense Opening Statements, held
                  December 12, 2022, as to Michael R. Capps before Judge Eric F. Melgren, Court
                  Reporter Jo Wilkinson, 316−315−4334, jo_wilkinson@ksd.uscourts.gov. Transcript
                  purchased by: Ms. Molly M. Gordon.

                  NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days of this
                  filing, each party shall inform the Court, by filing a Notice of Intent to Redact,


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                  of the party's intent to redact personal data identifiers from the electronic
                  transcript of the court proceeding. The policy is located on our website at
                  www.ksd.uscourts.gov. Please read this policy carefully. If no Notice of Intent to
                  Redact is filed within the allotted time, this transcript will be made
                  electronically available on the date set forth below.

                  Transcript may be viewed at the court public terminal or purchased through the Court
                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                  that date it may be obtained through the Court Reporter or PACER. Release of
                  Transcript Restriction set for 3/27/2023. (jw) (Entered: 12/27/2022)
01/09/2023   77   MOTION for New Trial by Michael R. Capps. (Kerns, Kurt) (Entered: 01/09/2023)
01/12/2023   78   NOTICE OF HEARING as to Defendant Michael R. Capps. THIS IS AN
                  OFFICIAL NOTICE FOR THIS HEARING. (This is a TEXT ENTRY ONLY. There
                  is no.pdf document associated with this entry.) Sentencing set for 3/10/2023 at 09:30
                  AM in Wichita Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren.
                  The court failed to docket the sentencing date at the conclusion of the trial. This entry
                  fixes that error. (cm) (Entered: 01/12/2023)
01/13/2023   79   TRANSCRIPT of Excerpt of Jury Trial Volume III held December 15, 2022, as to
                  Michael R. Capps before Judge Eric F. Melgren, Court Reporter Jo Wilkinson,
                  316−315−4334, jo_wilkinson@ksd.uscourts.gov. Transcript purchased by: Ms.
                  Molly Gordon. Volume: III.

                  NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days of this
                  filing, each party shall inform the Court, by filing a Notice of Intent to Redact,
                  of the party's intent to redact personal data identifiers from the electronic
                  transcript of the court proceeding. The policy is located on our website at
                  www.ksd.uscourts.gov. Please read this policy carefully. If no Notice of Intent to
                  Redact is filed within the allotted time, this transcript will be made
                  electronically available on the date set forth below.

                  Transcript may be viewed at the court public terminal or purchased through the Court
                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                  that date it may be obtained through the Court Reporter or PACER. Release of
                  Transcript Restriction set for 4/13/2023. (jw) (Entered: 01/13/2023)
01/13/2023   80   TRANSCRIPT of Excerpt of Jury Trial Volume IV held December 19, 2022, as to
                  Michael R. Capps before Judge Eric F. Melgren, Court Reporter Jo Wilkinson,
                  316−315−4334, jo_wilkinson@ksd.uscourts.gov. Transcript purchased by: Ms.
                  Molly Gordon. Volume: IV.

                  NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days of this
                  filing, each party shall inform the Court, by filing a Notice of Intent to Redact,
                  of the party's intent to redact personal data identifiers from the electronic
                  transcript of the court proceeding. The policy is located on our website at
                  www.ksd.uscourts.gov. Please read this policy carefully. If no Notice of Intent to
                  Redact is filed within the allotted time, this transcript will be made
                  electronically available on the date set forth below.

                  Transcript may be viewed at the court public terminal or purchased through the Court
                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After


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                  that date it may be obtained through the Court Reporter or PACER. Release of
                  Transcript Restriction set for 4/13/2023. (jw) (Entered: 01/13/2023)
01/25/2023   81   MOTION for a Preliminary Order of Forfeiture by USA as to Michael R. Capps.
                  (Gurney, Annette) (Entered: 01/25/2023)
01/27/2023   82   RESPONSE TO MOTION by USA as to Michael R. Capps re 77 Motion for a New
                  Trial. (Gordon, Molly) (Entered: 01/27/2023)
02/16/2023   83   ORDER OF FORFEITURE granting 81 Motion for a Preliminary Order of Forfeiture
                  as to Michael R. Capps (1). Signed by Chief District Judge Eric F. Melgren on
                  2/16/2023. (sz) (Entered: 02/16/2023)
02/17/2023   84   MEMORANDUM AND ORDER denying 77 Defendant's Motion for a New Trial as
                  to Michael R. Capps (1). Signed by Chief District Judge Eric F. Melgren on
                  2/17/2023. (mam) (Entered: 02/17/2023)
02/21/2023   85   NOTICE OF HEARING as to Defendant Michael R. Capps. THIS IS AN
                  OFFICIAL NOTICE FOR THIS HEARING. (This is a TEXT ENTRY ONLY. There
                  is no.pdf document associated with this entry.) Due to a conflict on the Court's
                  calendar, the Sentencing is being reset for 3/30/2023 at 02:30 PM in Wichita
                  Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren. (cm) (Entered:
                  02/21/2023)
03/22/2023   86   NOTICE OF HEARING as to Defendant Michael R. Capps. THIS IS AN
                  OFFICIAL NOTICE FOR THIS HEARING. (This is a TEXT ENTRY ONLY. There
                  is no.pdf document associated with this entry.) At request of counsel, the Sentencing
                  is reset for 4/24/2023 at 01:30 PM in Wichita Courtroom 408 (EFM) before Chief
                  District Judge Eric F. Melgren. Sentencing Memorandum Deadline set for 4/17/2023.
                  (cm) (Entered: 03/22/2023)
04/14/2023   87   PRESENTENCE INVESTIGATION REPORT as to Michael R. Capps.

                  (NOTE: Access to this document is restricted to the USA and this defendant.)

                  (USPO) (Entered: 04/14/2023)
04/14/2023   88   NOTICE OF HEARING as to Defendant Michael R. Capps. THIS IS AN
                  OFFICIAL NOTICE FOR THIS HEARING. (This is a TEXT ENTRY ONLY. There
                  is no.pdf document associated with this entry.) Sentencing set for 5/11/2023 at 02:00
                  PM in Wichita Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren.
                  Sentencing Memorandum Deadline set for 5/5/2023. (cm) (Entered: 04/14/2023)
05/01/2023   89   TRANSCRIPT of Jury Trial, Testimony of Michael Capps, held December 15, 2022,
                  as to Michael R. Capps before Judge Eric F. Melgren, Court Reporter Jo Wilkinson,
                  316−315−4334, jo_wilkinson@ksd.uscourts.gov. Transcript purchased by: Ms.
                  Molly Gordon.

                  NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days of this
                  filing, each party shall inform the Court, by filing a Notice of Intent to Redact,
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                  Transcript may be viewed at the court public terminal or purchased through the Court
                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                  that date it may be obtained through the Court Reporter or PACER. Release of
                  Transcript Restriction set for 7/31/2023. (jw) (Entered: 05/01/2023)
05/01/2023   90   TRANSCRIPT of Jury Trial, Testimony of Michael Capps, held December 19, 2022,
                  as to Michael R. Capps before Judge Eric F. Melgren, Court Reporter Jo Wilkinson,
                  316−315−4334, jo_wilkinson@ksd.uscourts.gov. Transcript purchased by: Ms.
                  Molly Gordon.

                  NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days of this
                  filing, each party shall inform the Court, by filing a Notice of Intent to Redact,
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                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                  that date it may be obtained through the Court Reporter or PACER. Release of
                  Transcript Restriction set for 7/31/2023. (jw) (Entered: 05/01/2023)
05/05/2023   91   SENTENCING MEMORANDUM by USA as to Michael R. Capps. (Gordon, Molly)
                  (Entered: 05/05/2023)
05/05/2023   92   SENTENCING MEMORANDUM by Michael R. Capps. (Attachments: # 1 Exhibit
                  A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7
                  Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit
                  L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O)(Kerns, Kurt) (Entered:
                  05/05/2023)
05/10/2023   93   SERVICE BY PUBLICATION filed by USA as to Michael R. Capps. Last
                  publication date April 15, 2023. (Attachments: # 1 Attachment 1)(Gurney, Annette)
                  (Entered: 05/10/2023)
05/10/2023   94   RESPONSE to 92 Sentencing Memorandum by USA as to Michael R. Capps.
                  (Gordon, Molly) (Entered: 05/10/2023)
05/11/2023   95   MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren:
                  SENTENCING HEARING held on 5/11/2023 as to defendant Michael R. Capps.
                  Defendant was sentenced to 27 months to Bureau of Prisons and was allowed to
                  self−surrender. (Court Reporter Jo Wilkinson) (This is a TEXT ENTRY ONLY.
                  There is no.pdf document associated with this entry.) (cm) (Entered: 05/11/2023)
05/12/2023   96   EXHIBIT LIST by Government from Sentencing for Michael R. Capps. (cm)
                  (Entered: 05/12/2023)
05/12/2023   97   AMENDED PRESENTENCE INVESTIGATION REPORT as to Michael R. Capps.

                  (NOTE: Access to this document is restricted to the USA and this defendant.)

                  (USPO) (Entered: 05/12/2023)
05/12/2023   98


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                   JUDGMENT as to Michael R. Capps (1) − Counts: 1, 2, 4, 5, 7−10, 12−15 Sentenced
                   to 27 months imprisonment and 2 years supervised release; each count, running
                   concurrently. $1200.00 special assessment fee. $318,647.21 restitution. Acquitted on
                   Counts 3, 6, 16, 17, 18, and 19. Count 11, Dismissed per the Order filed 12/13/2022.
                   Signed by Chief District Judge Eric F. Melgren on 5/12/2023. (ca) (Entered:
                   05/12/2023)
05/12/2023    99   STATEMENT OF REASONS as to Michael R. Capps re 98 Judgment.

                   (NOTE: Access to this document is restricted to the USA and this defendant.)

                   (ca) (Entered: 05/12/2023)
05/16/2023   100   MOTION to Withdraw Kurt Kerns as Attorney by Michael R. Capps. (Kerns, Kurt)
                   (Entered: 05/16/2023)
05/17/2023   101   NOTICE OF APPEAL TO 10CCA as to defendant Michael R. Capps. (Kerns, Kurt)
                   (Entered: 05/17/2023)
05/26/2023         APPEAL FEE STATUS: filing fee Not Paid re: 101 Notice of Appeal on behalf of
                   Defendant Michael R. Capps. (THIS IS A TEXT ONLY ENTRY−NO DOCUMENT
                   IS ASSOCIATED WITH THIS TRANSACTION) (kas) (Entered: 05/26/2023)
05/26/2023   102   PRELIMINARY RECORD ON APPEAL transmitted to 10CCA as to Michael R.
                   Capps re 101 Notice of Appeal. (Attachments: # 1 Preliminary Packet)(kas) (Entered:
                   05/26/2023)
05/26/2023   103   MOTION for Determination of Eligibility for Appointment of Counsel Under CJA
                   by Michael R. Capps. (Kerns, Kurt) (Entered: 05/26/2023)
05/26/2023   104   DESIGNATION OF RECORD ON APPEAL by Michael R. Capps re 101 Notice of
                   Appeal. (Appeal No. 23−3095) (Kerns, Kurt) (Additional attachment(s) added on
                   6/12/2023: # 1 Corrected Designation of Record) (msb) (Entered: 05/26/2023)
05/26/2023   105   (VIEW RESTRICTED − PLEASE DISREGARD THIS ENTRY AND SEE DE 108
                   FOR CORRECT ENTRY.) −− TRANSCRIPT ORDER FORM: Transcript
                   Requested Sentencing 5/11/23 re 101 Notice of Appeal filed by Michael R. Capps.
                   (Kerns, Kurt) Modified text on 5/30/2023. (msb) (Entered: 05/26/2023)
05/26/2023   106   (VIEW RESTRICTED − PLEASE DISREGARD THIS ENTRY AND SEE DE 108
                   FOR CORRECT ENTRY.) −− TRANSCRIPT ORDER FORM: Transcript
                   Requested Sentencing 5/11/23 re 101 Notice of Appeal filed by Michael R. Capps.
                   (Kerns, Kurt) Modified text on 5/30/2023. (msb) (Entered: 05/26/2023)
05/26/2023   107   APPEAL DOCKETED in 10CCA on 5/26/2023 and assigned Appeal No. 23−3095
                   re 101 Notice of Appeal filed by Michael R. Capps. (kas) (Entered: 05/26/2023)
05/30/2023   108   TRANSCRIPT ORDER FORM: Transcript Requested Sentencing 5/11/23 re 101
                   Notice of Appeal filed by Michael R. Capps. (Kerns, Kurt) (Additional attachment(s)
                   added on 5/30/2023: # 1 Transcript Order Form) (msb) (Entered: 05/30/2023)
05/30/2023   109   ORDER granting 103 Motion to Determine Eligibility for Appointment of Counsel
                   Under CJA as to Michael R. Capps (1). The Court finds that the defendant is eligible
                   for the appointment of counsel under CJA and is granted IFP status. Signed by Chief
                   District Judge Eric F. Melgren on 5/30/2023. (kas) (Entered: 05/30/2023)



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05/30/2023   110   CJA 23 FINANCIAL AFFIDAVIT by Michael R. Capps. (kas) (Entered:
                   05/30/2023)
05/30/2023   111   ORDER granting 100 Motion to Withdraw as to Michael R. Capps (1). Attorney Kurt
                   Kerns is withdrawn from this case. Signed by Chief District Judge Eric F. Melgren on
                   5/30/2023. (kas) (Entered: 05/30/2023)
05/31/2023   112   ORDER of 10CCA appointing the Federal Public Defender for the Districts of
                   Colorado and Wyoming to represent appellant Michael R. Capps re 101 Notice of
                   Appeal. (Appeal No. 23−3095) (kas) (Entered: 05/31/2023)
06/12/2023   113   DOCKET ANNOTATION: Please find attached the corrected 104 Designation of
                   Record on Appeal filed by Michael R. Capps. The corrected document has been
                   attached to the original filing DE 104 and to this filing for noticing purposes only.
                   (msb) (Entered: 06/12/2023)
06/12/2023   114   ENTRY OF APPEARANCE by attorney Jacob Rasch−Chabot appearing for Michael
                   R. Capps. (Rasch−Chabot, Jacob) (Entered: 06/12/2023)
06/12/2023   115   MOTION for Release Pending Appeal by Michael R. Capps. (Rasch−Chabot, Jacob)
                   (Entered: 06/12/2023)
06/14/2023   116   ORDER as to Michael R. Capps re 115 Motion for Release Pending Appeal filed by
                   Michael R. Capps. At the direction of Judge Eric F. Melgren, the government's
                   response to DE 115 is due on or before 6/20/2023. Signed by Chief District Judge
                   Eric F. Melgren on 6/14/2023. (This is a TEXT ENTRY ONLY. There is no.pdf
                   document associated with this entry.) (cm) (Entered: 06/14/2023)
06/20/2023   117   ORDER as to Michael R. Capps re 115 Morion for Release >Pending Appeal filed by
                   Michael R. Capps. At the direction of Judge Eric F. Melgren, the government's
                   response is now due on or before noon, 6/22/2023. Signed by Chief District Judge
                   Eric F. Melgren on 6/20/2023. (This is a TEXT ENTRY ONLY. There is no.pdf
                   document associated with this entry.) (cm) (Entered: 06/20/2023)
06/21/2023   118   RESPONSE TO MOTION by USA as to Michael R. Capps re 115 Motion for
                   Release Pending Appeal. (Gordon, Molly) (Entered: 06/21/2023)
06/22/2023   119   REPLY TO RESPONSE TO MOTION by Michael R. Capps re 115 Motion for
                   Release Pending Appeal. (Rasch−Chabot, Jacob) (Entered: 06/22/2023)
06/22/2023   120   TRANSCRIPT ORDER FORM: Transcript Requested Initial appearance on 9/22/21;
                   Pretrial Conference held on 12/2/2022; Jury Instructions Conference held on 12/9/22;
                   Jury Trial held on 12/12/22, 12/14/22, 12/15/22, 12/19/22,12/21/22; Sentencing
                   Hearing held 5/11/23. re 101 Notice of Appeal filed by Michael R. Capps.
                   (Rasch−Chabot, Jacob) (Entered: 06/22/2023)
06/23/2023   121   MEMORANDUM AND ORDER granting 115 Motion for Release from Custody
                   Pending Appeal as to Michael R. Capps. Signed by Chief District Judge Eric F.
                   Melgren on June 23, 2023. (mls) (Entered: 06/23/2023)
07/06/2023   122   TRANSCRIPT ORDER FORM by Court Reporter Johanna L. Wilkinson ordering
                   trial transcripts held on 12/9/22, 12/12/22, 12/14/22, 12/15/22, 12/19/22, 12/21/22,
                   Pretrial Conference held 12/2/22, 9/22/21 Initial Appearance, and 5/11/23 Sentencing
                   Hearing re 101 Notice of Appeal filed by Michael R. Capps. (Appeal No. 23−3095)
                   Transcripts due by 7/22/2023. (kas) (Entered: 07/06/2023)



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07/17/2023   123   ENTRY OF APPEARANCE on behalf of USA by Kathryn E. Sheedy. (Sheedy,
                   Kathryn) (Entered: 07/17/2023)
07/17/2023   124   APPLICATION FOR WRIT OF CONTINUING GARNISHMENT to Garnishee
                   Northwestern Mutual by USA as to Michael R. Capps. (Sheedy, Kathryn) (Entered:
                   07/17/2023)
07/17/2023   125   APPLICATION FOR WRIT OF CONTINUING GARNISHMENT to Garnishee
                   Ohio National Life Assurance Corporation by USA as to Michael R. Capps. (Sheedy,
                   Kathryn) (Entered: 07/17/2023)
07/17/2023   126   WRIT OF CONTINUING GARNISHMENT ENTERED BY CLERK as to Michael
                   R. Capps. Garnishee Ohio National Life Assurance Corporation; writ issued to US
                   Attorney. (Attachments: # 1 Instructions to Debtor)(nao) (Entered: 07/17/2023)
07/17/2023   127   WRIT OF CONTINUING GARNISHMENT ENTERED BY CLERK as to Michael
                   R. Capps. Garnishee Northwestern Mutual; writ issued to US Attorney.
                   (Attachments: # 1 Instructions to Debtor) (nao) (Entered: 07/17/2023)
07/20/2023   128   CERTIFICATE OF FILING OF TRANSCRIPT by Court Reporter Johanna L.
                   Wilkinson. (Wilkinson, Johanna) (Entered: 07/20/2023)
07/20/2023   129   TRANSCRIPT of Other Hearing held September 22, 2021 as to Michael R. Capps
                   before Judge Gwynne E. Birzer, Court Reporter Jo Wilkinson,
                   redwoof58@yahoo.com. Tape Number: 1:31−1:41. Transcript purchased by: Mr.
                   Jacob Rasch−Chabot.

                   NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days of this
                   filing, each party shall inform the Court, by filing a Notice of Intent to Redact,
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                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                   that date it may be obtained through PACER. Release of Transcript Restriction set for
                   10/18/2023. (Wilkinson, Johanna) (Entered: 07/20/2023)
07/20/2023   130   TRANSCRIPT of Motion Hearing held December 2, 2022 as to Michael R. Capps
                   before Judge Eric F. Melgren, Court Reporter Jo Wilkinson, redwoof58@yahoo.com.
                   Transcript purchased by: Mr. Jacob Rasch−Chabot.

                   NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days of this
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                   that date it may be obtained through PACER. Release of Transcript Restriction set for
                   10/18/2023. (Wilkinson, Johanna) (Entered: 07/20/2023)
07/20/2023   131   TRANSCRIPT of Other Hearing held December 9, 2022, as to Michael R. Capps
                   before Judge Eric F. Melgren, Court Reporter Jo Wilkinson, redwoof58@yahoo.com.
                   Transcript purchased by: Mr. Jacob Rasch−Chabot.

                   NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days of this
                   filing, each party shall inform the Court, by filing a Notice of Intent to Redact,
                   of the party's intent to redact personal data identifiers from the electronic
                   transcript of the court proceeding. The policy is located on our website at
                   www.ksd.uscourts.gov. Please read this policy carefully. If no Notice of Intent to
                   Redact is filed within the allotted time, this transcript will be made
                   electronically available on the date set forth below.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                   that date it may be obtained through PACER. Release of Transcript Restriction set for
                   10/18/2023. (Wilkinson, Johanna) (Entered: 07/20/2023)
07/20/2023   132   TRANSCRIPT of Jury Trial Volume I held December 12, 2022, as to Michael R.
                   Capps before Judge Eric F. Melgren, Court Reporter Jo Wilkinson,
                   redwoof58@yahoo.com. Transcript purchased by: Mr. Jacob Rasch−Chabot.
                   Volume: I.

                   NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days of this
                   filing, each party shall inform the Court, by filing a Notice of Intent to Redact,
                   of the party's intent to redact personal data identifiers from the electronic
                   transcript of the court proceeding. The policy is located on our website at
                   www.ksd.uscourts.gov. Please read this policy carefully. If no Notice of Intent to
                   Redact is filed within the allotted time, this transcript will be made
                   electronically available on the date set forth below.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                   that date it may be obtained through PACER. Release of Transcript Restriction set for
                   10/18/2023. (Wilkinson, Johanna) (Entered: 07/20/2023)
07/20/2023   133   TRANSCRIPT of Jury Trial Volume II held December 14, 2022, as to Michael R.
                   Capps before Judge Eric F. Melgren, Court Reporter Jo Wilkinson,
                   redwoof58@yahoo.com. Transcript purchased by: Mr. Jacob Rasch−Chabot.
                   Volume: II.

                   NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days of this
                   filing, each party shall inform the Court, by filing a Notice of Intent to Redact,
                   of the party's intent to redact personal data identifiers from the electronic
                   transcript of the court proceeding. The policy is located on our website at
                   www.ksd.uscourts.gov. Please read this policy carefully. If no Notice of Intent to
                   Redact is filed within the allotted time, this transcript will be made
                   electronically available on the date set forth below.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After

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                   that date it may be obtained through PACER. Release of Transcript Restriction set for
                   10/18/2023. (Wilkinson, Johanna) (Entered: 07/20/2023)
07/20/2023   134   TRANSCRIPT of Jury Trial Volume III held December 15, 2022, as to Michael R.
                   Capps before Judge Eric F. Melgren, Court Reporter Jo Wilkinson,
                   redwoof58@yahoo.com. Transcript purchased by: Mr. Jacob Rasch−Chabot.
                   Volume: III.

                   NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days of this
                   filing, each party shall inform the Court, by filing a Notice of Intent to Redact,
                   of the party's intent to redact personal data identifiers from the electronic
                   transcript of the court proceeding. The policy is located on our website at
                   www.ksd.uscourts.gov. Please read this policy carefully. If no Notice of Intent to
                   Redact is filed within the allotted time, this transcript will be made
                   electronically available on the date set forth below.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                   that date it may be obtained through PACER. Release of Transcript Restriction set for
                   10/18/2023. (Wilkinson, Johanna) (Entered: 07/20/2023)
07/20/2023   135   TRANSCRIPT of Jury Trial Volume IV held December 19, 2022, as to Michael R.
                   Capps before Judge Eric F. Melgren, Court Reporter Jo Wilkinson,
                   redwoof58@yahoo.com. Transcript purchased by: Mr. Jacob Rasch−Chabot.
                   Volume: IV.

                   NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days of this
                   filing, each party shall inform the Court, by filing a Notice of Intent to Redact,
                   of the party's intent to redact personal data identifiers from the electronic
                   transcript of the court proceeding. The policy is located on our website at
                   www.ksd.uscourts.gov. Please read this policy carefully. If no Notice of Intent to
                   Redact is filed within the allotted time, this transcript will be made
                   electronically available on the date set forth below.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                   that date it may be obtained through PACER. Release of Transcript Restriction set for
                   10/18/2023. (Wilkinson, Johanna) (Entered: 07/20/2023)
07/20/2023   136   TRANSCRIPT of Jury Trial Volume V held December 21, 2022, as to Michael R.
                   Capps before Judge Eric F. Melgren, Court Reporter Jo Wilkinson,
                   redwoof58@yahoo.com. Transcript purchased by: Mr. Jacob Rasch−Chabot.
                   Volume: V.

                   NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days of this
                   filing, each party shall inform the Court, by filing a Notice of Intent to Redact,
                   of the party's intent to redact personal data identifiers from the electronic
                   transcript of the court proceeding. The policy is located on our website at
                   www.ksd.uscourts.gov. Please read this policy carefully. If no Notice of Intent to
                   Redact is filed within the allotted time, this transcript will be made
                   electronically available on the date set forth below.




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                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                   that date it may be obtained through PACER. Release of Transcript Restriction set for
                   10/18/2023. (Wilkinson, Johanna) (Entered: 07/20/2023)
07/20/2023   137   TRANSCRIPT of Sentencing Hearing held May 11, 2023, as to Michael R. Capps
                   before Judge Eric F. Melgren, Court Reporter Jo Wilkinson, redwoof58@yahoo.com.
                   Transcript purchased by: Mr. Jacob Rasch−Chabot.

                   NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days of this
                   filing, each party shall inform the Court, by filing a Notice of Intent to Redact,
                   of the party's intent to redact personal data identifiers from the electronic
                   transcript of the court proceeding. The policy is located on our website at
                   www.ksd.uscourts.gov. Please read this policy carefully. If no Notice of Intent to
                   Redact is filed within the allotted time, this transcript will be made
                   electronically available on the date set forth below.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                   that date it may be obtained through PACER. Release of Transcript Restriction set for
                   10/18/2023. (Wilkinson, Johanna) (Entered: 07/20/2023)
07/31/2023   138   RECORD ON APPEAL transmitted to 10CCA electronically as to Michael R. Capps.
                   Volumes 3 re 101 Notice of Appeal. (Appeal No. 23−3095) (kas) (Entered:
                   07/31/2023)
08/03/2023   139   ANSWER to 127 Writ of Continuing Garnishment by Northwestern Mutual. (ca)
                   (Entered: 08/03/2023)
08/04/2023   140   CERTIFICATE OF SERVICE by USA as to Michael R. Capps re 126 Writ of
                   Continuing Garnishment as to Ohio National Life Assurance Corporation. (Sheedy,
                   Kathryn) (Entered: 08/04/2023)
08/04/2023   141   CERTIFICATE OF SERVICE by USA as to Michael R. Capps re 127 Writ of
                   Continuing Garnishment as to Northwestern Mutual. (Sheedy, Kathryn) (Entered:
                   08/04/2023)
08/10/2023   142   ANSWER to 126 Writ of Continuing Garnishment by Ohio National Life Assurance
                   Corporation. (mam) (Entered: 08/10/2023)
08/30/2023   143   RETURN OF SERVICE of Notice of Forfeiture served on the FBI as to Michael R.
                   Capps. (Gurney, Annette) (Entered: 08/30/2023)
08/30/2023   144   RETURN OF SERVICE of Notice of Forfeiture served on the property as to Michael
                   R. Capps. (Gurney, Annette) (Entered: 08/30/2023)
08/30/2023   145   RETURN OF SERVICE of Notice of Forfeiture served on Pershing, LLC as to
                   Michael R. Capps. (Gurney, Annette) (Entered: 08/30/2023)
08/30/2023   146   RETURN OF SERVICE of Notice of Forfeiture served on Cybertron International,
                   Inc. as to Michael R. Capps. (Gurney, Annette) (Entered: 08/30/2023)
08/30/2023   147   RETURN OF SERVICE of Notice of Forfeiture served on the U.S. Small Business
                   Administration as to Michael R. Capps. (Gurney, Annette) (Entered: 08/30/2023)
09/05/2023   148


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                   APPLICATION FOR WRIT OF CONTINUING GARNISHMENT to Garnishee
                   Knopp Law Group, P.A. by USA as to Michael R. Capps. (Sheedy, Kathryn)
                   (Entered: 09/05/2023)
09/05/2023   149   WRIT OF CONTINUING GARNISHMENT ENTERED BY CLERK as to Michael
                   R. Capps. Garnishee Knopp Law Group, P.A.; writ issued to US Attorney.
                   (Attachments: # 1 Notice and Instructions). (mls) (Entered: 09/05/2023)
09/06/2023   150   CERTIFICATE OF SERVICE by USA as to Michael R. Capps re 149 Writ of
                   Continuing Garnishment as to Knopp Law Group, P.A. (Sheedy, Kathryn) (Entered:
                   09/06/2023)
09/06/2023   151   MOTION for Garnishee Order as to Northwestern Mutual by USA as to Michael R.
                   Capps. (Sheedy, Kathryn) (Entered: 09/06/2023)
09/06/2023   152   MOTION for Garnishee Order as to Ohio National Life Assurance Corporation by
                   USA as to Michael R. Capps. (Sheedy, Kathryn) (Entered: 09/06/2023)
09/07/2023   153   GARNISHEE ORDER granting 151 Motion for Garnishee Order as to Michael R.
                   Capps. Garnishee Northwestern Mutual shall immediately liquidate and pay over the
                   property ($1,225.16) to the United States. Once Northwestern Mutual no longer has
                   custody, possession, or control of any property in which Defendant Michael R. Capps
                   has an interest or once Northwestern Mutual is no longer indebted to Defendant
                   Michael R. Capps and will not become indebted to Defendant Michael R. Capps in
                   the future, Northwestern Mutual is released and discharged as Garnishee in this
                   action. Signed by Chief District Judge Eric F. Melgren on 9/7/2023. (mls) (Entered:
                   09/07/2023)
09/07/2023   154   GARNISHEE ORDER granting 152 Motion for Garnishee Order as to Michael R.
                   Capps. Garnishee Ohio National Life Assurance Corporation shall immediately
                   liquidate and pay over the property ($568.99) of Defendant Michael R. Capps to the
                   United States. This order shall remain in effect until such time as Garnishee no longer
                   has custody, possession, or control of any property in which Defendant Michael R.
                   Capps has an interest or for which Ohio National Life Assurance Corporation is or
                   may become indebted to Defendant. Once Garnishee Ohio National Life Assurance
                   Corporation no longer has custody, possession, or control of any property in which
                   Defendant Michael R. Capps has an interest or once Garnishee Ohio National Life
                   Assurance Corporation is no longer indebted to Defendant Michael R. Capps and will
                   not become indebted to Defendant Michael R. Capps in the future, Garnishee Ohio
                   National Life Assurance Corporation is released and discharged as Garnishee in this
                   action. Signed by Chief District Judge Eric F. Melgren on 9/7/2023. (mls) (Entered:
                   09/07/2023)
09/12/2023   155   APPLICATION FOR WRIT OF CONTINUING GARNISHMENT to Garnishee
                   Coinbase, Inc. by USA as to Michael R. Capps. (Sheedy, Kathryn) (Entered:
                   09/12/2023)
09/12/2023   156   WRIT OF CONTINUING GARNISHMENT ENTERED BY CLERK as to Michael
                   R. Capps. Garnishee Coinbase, Inc.; writ issued to US Attorney. (Attachments: # 1
                   Instructions to Defendant) (jal) (Entered: 09/12/2023)
09/19/2023   157   CERTIFICATE OF SERVICE by USA as to Michael R. Capps re 156 Writ of
                   Continuing Garnishment as to Coinbase, Inc. (Sheedy, Kathryn) (Entered:
                   09/19/2023)



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09/19/2023   158   NOTICE of Garnishment and Instructions to Interested Parties by USA as to Michael
                   R. Capps re 156 Writ of Continuing Garnishment to Coinbase, Inc. (Sheedy,
                   Kathryn) (Entered: 09/19/2023)
09/25/2023   159   ANSWER to 156 Writ of Continuing Garnishment by Coinbase, Inc. (mam)
                   (Entered: 09/25/2023)
09/26/2023   160   ANSWER to 149 Writ of Continuing Garnishment by Knopp Law Group, P.A.
                   (mam) (Entered: 09/27/2023)
12/08/2023   161   PRO SE MOTION for Declaratory Judgment Regarding Exclusion of Social Security
                   Disability Benefits from Garnishment and, in the Alternative, for Injunctive Relief by
                   Michael R. Capps. (jal) (Entered: 12/08/2023)
12/19/2023   162   PARTIAL RELEASE OF JUDGMENT LIEN − Property Located in Sedgwick
                   County, KS by USA as to Michael R. Capps. (Sheedy, Kathryn) (Entered:
                   12/19/2023)
12/21/2023   163   MOTION Dismiss Defendant's 161 Pro Se Motion for Declaratory Judgment
                   Regarding Exclusion of Social Security Disability Benefits from Garnishment and, in
                   the Alternative, for Injunctive Relief by USA as to Michael R. Capps. (Attachments:
                   # 1 Exhibit A − Notice of Intent to Offset)(Sheedy, Kathryn) (Entered: 12/21/2023)
12/29/2023   164   MOTION to Enforce Sentencing Order by Michael R. Capps. (mam) (Entered:
                   01/02/2024)
01/01/2024   165   AMENDED MOTION to Enforce Sentencing Order by Michael R. Capps. (mam)
                   (Entered: 01/02/2024)
01/02/2024   166   NOTICE OF INTENT by Michael R. Capps to File a Reply to 163 Motion to
                   Dismiss Defendant's 161 Motion for Declaratory Judgment. (mam) (Entered:
                   01/02/2024)
01/03/2024   167   RESPONSE TO MOTION by Michael R. Capps re 163 Motion to Dismiss 161
                   Defendant's Motion for Declaratory Judgment. (mam) (Entered: 01/03/2024)
01/11/2024   168   RESPONSE TO MOTION by USA as to Michael R. Capps re 165 Amended Motion
                   to Enforce Sentencing Order. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Gurney,
                   Annette) (Entered: 01/11/2024)
01/18/2024   169   REPLY TO RESPONSE TO MOTION by Michael R. Capps re 164 / 165 Motions to
                   Enforce Sentencing Order. (mam) (Entered: 01/18/2024)
02/05/2024   170   APPLICATION FOR WRIT OF CONTINUING GARNISHMENT to Garnishee
                   Security 1st Title, LLC by USA as to Michael R. Capps. (Sheedy, Kathryn) (Entered:
                   02/05/2024)
02/05/2024   171   WRIT OF CONTINUING GARNISHMENT ENTERED BY CLERK as to Michael
                   R. Capps. Garnishee Security 1st Title, LLC; writ issued to US Attorney.
                   (Attachments: # 1 Instructions to Debtor) (jk) (Entered: 02/05/2024)
02/09/2024   172   NOTICE of Garnishment and Instructions to Interested Parties, Garnishee Security
                   1st Title, LLC by USA as to Michael R. Capps re 171 Writ of Continuing
                   Garnishment (Sheedy, Kathryn) (Entered: 02/09/2024)
02/14/2024   173   CERTIFICATE OF SERVICE by USA as to Michael R. Capps re 171 Writ of
                   Continuing Garnishment as to Security 1st Title. (Sheedy, Kathryn) (Entered:


                                                                                                            23
                   02/14/2024)
02/27/2024   174   LIMITED APPEARANCE of Claimant Charles Capps to Object to Garnishment
                   (Doc. 171 ) AND to Provide Notice of Intepleader Action by Knopp Law Group,
                   P.A. as to Michael R. Capps. (Knopp, Ted) Modified on 7/15/2024 to re−title. (mam)
                   (Entered: 02/27/2024)
02/28/2024   175   EXEMPTION CLAIM AND HEARING REQUEST by Michael R. Capps. (kas)
                   (Entered: 02/28/2024)
02/29/2024   176   ANSWER to 170 Application for Writ of Continuing Garnishment by Security 1st
                   Title, LLC. (kas) (Entered: 02/29/2024)
02/29/2024   177   ORDER as to Michael R. Capps re 175 Motion for Hearing filed by Michael R.
                   Capps, 174 Objections filed by Knopp Law Group, P.A. At the direction of Judge
                   Eric F. Melgren, on or before 3/19/2024 the government is instructed to file
                   responses to both DE 174 and DE 175 . Signed by Chief District Judge Eric F.
                   Melgren on 2/29/2024. Mailed to pro se party Michael Capps by regular mail. (This
                   is a TEXT ENTRY ONLY. There is no.pdf document associated with this entry.)
                   (cm) (Entered: 02/29/2024)
03/04/2024         DOCKET ANNOTATION: Defendant Michael R. Capps is a registered Pro Se
                   Participant with E−Filing and ECF Notifications with approval from the court
                   pursuant to D. Kan. rule CR 49.2 (lrr) (Entered: 03/04/2024)
03/19/2024   178   RESPONSE to 174 Limited Appearance of Claimant Charles Capps to Object to
                   Garnishment and to Provide Notice of Intepleader Action by USA as to Michael R.
                   Capps. (Attachments: # 1 Exhibit Government Exhibits A through S) (Sheedy,
                   Kathryn) (Entered: 03/19/2024)
03/19/2024   179   OBJECTION to Exemption Claim and 175 Hearing Request by USA as to Michael
                   R. Capps. (Sheedy, Kathryn) (Entered: 03/19/2024)
03/26/2024   180   CERTIFICATE OF SERVICE by USA of First Set of Interrogatories to Defendant
                   and First Request for Production of Documents and Electronically Stored Information
                   as to Michael R. Capps. (Sheedy, Kathryn) (Entered: 03/26/2024)
04/03/2024   181   MOTION for Extension of Time to File a Reply to the Response to the 179 Objection
                   by Charles Capps as to Michael R. Capps. (Knopp, Ted) (Entered: 04/03/2024)
04/03/2024   182   ORDER granting 181 Motion for Extension of Time to File Reply as to Michael R.
                   Capps (1). Reply deadline 4/17/2024. Signed by Chief District Judge Eric F. Melgren
                   on 4/3/2024. (This is a TEXT ENTRY ONLY. There is no.pdf document associated
                   with this entry.) (cm) (Entered: 04/03/2024)
04/08/2024   183   MOTION for order for Stay of Restitution Pending Appeal by Michael R. Capps.
                   (Attachments: # 1 Attachment A, # 2 Attachment B, # 3 Attachment
                   C)(Rasch−Chabot, Jacob) (Entered: 04/08/2024)
04/17/2024   184   MOTION for Stay of Briefing by Charles Capps as to Michael R. Capps. (Knopp,
                   Ted) (Entered: 04/17/2024)
04/22/2024   185   RESPONSE by USA as to Michael R. Capps re 183 Motion for Stay of Restitution
                   Pending Appeal. (Attachments: # 1 Exhibit A − 2018−CV−001307 − Journal Entry
                   Approving Settlement, # 2 Exhibit B − Warranty Deed − 10202 E Bronco, # 3
                   Exhibit C − 2018−PR−000662 − Accounting of Administrator, # 4 Exhibit D −


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                   2018−PR−000662 − Journal Entry of Final Settlement) (Sheedy, Kathryn) (Entered:
                   04/22/2024)
04/22/2024   186   MOTION to Quash Requests for Production and Interrogatories and for Sanctions
                   Against Plaintiff by Michael R. Capps. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3
                   Exhibit)(Capps, Michael) (Entered: 04/22/2024)
04/29/2024   187   REPLY TO RESPONSE TO MOTION by Michael R. Capps re 183 Motion for Stay
                   of Restitution Pending Appeal. (Rasch−Chabot, Jacob) (Entered: 04/29/2024)
05/01/2024   188   RESPONSE TO MOTION by USA as to Michael R. Capps re 184 Motion for Stay of
                   Briefing. (Sheedy, Kathryn) (Entered: 05/01/2024)
05/01/2024   189   RESPONSE TO MOTION by USA as to Michael R. Capps re 186 Motion to Quash
                   Requests for Production and Interrogatories and for Sanctions Against Plaintiff.
                   (Sheedy, Kathryn) (Entered: 05/01/2024)
05/06/2024   190   REPLY TO RESPONSE TO MOTION by Michael R. Capps re 186 Motion to Quash
                   Requests for Production and Interrogatories and for Sanctions Against Plaintiff.
                   (Capps, Michael) (Entered: 05/06/2024)
06/12/2024   191   MEMORANDUM AND ORDER denying 183 Motion for Order for Stay of
                   Restitution Pending Appeal as to Michael R. Capps (1). Any funds that are garnished
                   are to be deposited into the Court's registry. These funds will not be disbursed by the
                   Clerk of the Court until further order by the Court. Signed by Chief District Judge
                   Eric F. Melgren on 6/11/2024. (ca) (Entered: 06/12/2024)
06/13/2024   192   MEMORANDUM AND ORDER − Denying 161 Defendant's Motion for
                   Declaratory Judgment. Granting 163 Government's Motion to Dismiss Defendant's
                   Motion for Declaratory Judgment. Denying 164 Defendant's Motion to Enforce
                   Sentencing Order. Denying 165 Defendant's Amended Motion to Enforce Sentencing
                   Order. Denying 175 Defendant's Exemption Claim and Hearing Request. Denying as
                   moot 184 Claimant Charles Capps' Motion for Extension of time. Denying 186
                   Defendant's Motion to Quash or Motion for Sanctions. Signed by Chief District
                   Judge Eric F. Melgren on 6/13/2024. (ca) (Entered: 06/13/2024)
06/17/2024   193   NOTICE OF APPEAL TO 10CCA by Michael R. Capps re 192 Memorandum and
                   Order. (ca) (Entered: 06/17/2024)
06/17/2024         APPEAL FEE STATUS: filing fee not paid re: 193 Notice of Appeal on behalf of
                   Defendant Michael R. Capps. CJA 23 filed on 5/30/2023. (THIS IS A TEXT ONLY
                   ENTRY−NO DOCUMENT IS ASSOCIATED WITH THIS TRANSACTION) (ca)
                   (Entered: 06/17/2024)
06/17/2024   194   PRELIMINARY RECORD ON APPEAL transmitted to 10CCA as to Michael R.
                   Capps re 193 Notice of Appeal. (Attachments: # 1 Preliminary Packet)(ca) (Entered:
                   06/17/2024)
06/18/2024   195   APPEAL DOCKETED in 10CCA on 6/17/2024 and assigned Appeal No. 24−3083
                   re 193 Notice of Appeal. (ca) (Entered: 06/18/2024)
06/18/2024   196   ENTRY OF APPEARANCE on behalf of USA by Carrie Nicole Capwell. (Capwell,
                   Carrie) (Entered: 06/18/2024)
06/24/2024   197   OBJECTION to 171 Garnishment by United States of America to Security 1st Title,
                   LLC by Charles Capps as to Michael R. Capps. (Attachments: # 1 Exhibit)(Knopp,


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                   Ted) (Entered: 06/24/2024)
06/27/2024   198   RECORD ON APPEAL retrieved by 10CCA as to Michael R. Capps, re 193 Notice
                   of Appeal. (Appeal No. 24−3083). (This is a TEXT ENTRY ONLY. There is no.pdf
                   document associated with this entry.) (ca) (Entered: 06/27/2024)
07/01/2024   199   MOTION / REQUEST for Hearing on Objection of Charles Capps to Garnishment of
                   Escrow Funds by Charles Capps as to Michael R. Capps. (Knopp, Ted) (Entered:
                   07/01/2024)
07/08/2024   200   RESPONSE AND PROCEDURAL OBJECTION re 197 Claimant's Objection to 171
                   Garnishment to Security 1st Title, LLC by USA as to Michael R. Capps. (Sheedy,
                   Kathryn) (Entered: 07/08/2024)
07/08/2024   201   MOTION to Stay Enforcement of Memorandum and Order Pending Appeal by
                   Michael R. Capps. (Capps, Michael) (Entered: 07/08/2024)
07/09/2024   202   RESPONSE IN OPPOSITION by USA as to Michael R. Capps re 199 Request for
                   Hearing. (Sheedy, Kathryn) (Entered: 07/09/2024)
07/22/2024   203   ORDER granting 199 Motion for Hearing as to Michael R. Capps (1). Motion
                   Hearing set for 9/12/2024 at 09:30 AM in Wichita Courtroom 408 (EFM) before
                   Chief District Judge Eric F. Melgren. Signed by Chief District Judge Eric F. Melgren
                   on 7/22/2024. (This is a TEXT ENTRY ONLY. There is no.pdf document associated
                   with this entry.) (cm) (Entered: 07/22/2024)
07/22/2024   204   NOTICE of Motion Hearing as to Michael R. Capps re 203 Order on Motion for
                   Hearing. As noted on the docket, the motion hearing has been scheduled for
                   9/12/2024 at 9:30 a.m. The parties need to come prepared to fully argue their
                   positions. (cm) (Entered: 07/22/2024)
07/22/2024   205   NOTICE of Non−Opposition to Stay by USA as to Michael R. Capps re 201 Motion
                   to Stay Enforcement of Memorandum and Order Pending Appeal. (Sheedy, Kathryn)
                   (Entered: 07/22/2024)
07/23/2024   206   ORDER granting 201 Motion to Stay Enforcement of Memorandum and Order
                   Pending Appeal as to Michael R. Capps. Signed by Chief District Judge Eric F.
                   Melgren on 7/23/2024. (jal) (Entered: 07/23/2024)
07/26/2024   207   MOTION for Order Restraining Property and Rights to Property Available for
                   Payment of Restitution by USA as to Michael R. Capps. (Sheedy, Kathryn) (Entered:
                   07/26/2024)
08/21/2024   208   NOTICE OF HEARING ON MOTION as to Michael R. Capps. THIS IS AN
                   OFFICIAL NOTICE FOR THIS HEARING 207 Motion for Order Restraining
                   Property and Rights to Property Available for Payment of Restitution : (This is a
                   TEXT ENTRY ONLY. There is no.pdf document associated with this entry.) Motion
                   Hearing set for 9/12/2024 at 09:30 AM in Wichita Courtroom 408 (EFM) before
                   Chief District Judge Eric F. Melgren. This hearing will be in conjunction with the
                   currently scheduled motion hearing as set out in DE 204.(cm) (Entered: 08/21/2024)
09/11/2024   209   (STRICKEN per 210) −− RESPONSE TO MOTION by Michael R. Capps re 207
                   Motion for Order Restraining Property and Rights to Property Available for Payment
                   of Restitution. (Capps, Michael) Modified on 9/12/2024, see 210. (mam) (Entered:
                   09/11/2024)



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09/12/2024   210   MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren:
                   MOTION HEARING as to Michael R. Capps held on 9/12/2024. The Court strikes
                   Michael Capps's response (Doc. 209) to the Government's Motion for Restraining
                   Order because it is untimely. The Court directs the Government and Charles Capps to
                   file supplemental briefing as to the limited issues discussed during the hearing by
                   September 20, 2024. (Court Reporter Annie States) (This is a TEXT ENTRY ONLY.
                   There is no.pdf document associated with this entry.) (sn) (Entered: 09/12/2024)
09/17/2024   211   AMENDED MOTION for Order Restraining Property and Rights to Property
                   Available for Payment of Restitution by USA as to Michael R. Capps. (Sheedy,
                   Kathryn) (Entered: 09/17/2024)
09/20/2024   212   SUPPLEMENTAL MEMORANDUM by Charles Capps as to Michael R. Capps per
                   210. (Knopp, Ted) (Entered: 09/20/2024)
09/20/2024   213   SUPPLEMENTAL BRIEFING by USA as to Michael R. Capps per 210. (Sheedy,
                   Kathryn) (Entered: 09/20/2024)
09/30/2024   214   RESPONSE TO MOTION by Michael R. Capps re 211 Amended Motion for Order
                   Restraining Property and Rights to Property Available for Payment of Restitution.
                   (Capps, Michael) (Entered: 09/30/2024)
09/30/2024   215   JOINT MOTION for Distribution of Funds by Charles Capps as to Michael R.
                   Capps. (Knopp, Ted) Modified on 9/30/2024 to add Duaglo, LLC as a filer. (mam)
                   (Entered: 09/30/2024)
09/30/2024   216   ENTRY OF APPEARANCE by attorney Ted E. Knopp on behalf of Duaglo, LLC.
                   (Knopp, Ted) (Entered: 09/30/2024)
09/30/2024   217   JOINT MOTION to Allow Intervention by Duaglo, LLC, Charles Capps as to
                   Michael R. Capps. (Knopp, Ted) (Entered: 09/30/2024)
10/07/2024   218   REPLY to 214 Response to 211 Motion − Government's Amended Motion for Order
                   Restraining Property and Rights to Property Available for Payment of Restitution by
                   USA as to Michael R. Capps (Sheedy, Kathryn) Modified on 10/8/2024 to link to
                   underlying motion. (jal) (Entered: 10/07/2024)
10/09/2024   219   MOTION for Joinder Joint Motion for Distribution of Funds by Michael R. Capps.
                   (Capps, Michael) (Entered: 10/09/2024)
10/15/2024   220   RESPONSE IN OPPOSITION by USA as to Michael R. Capps re 217 Joint Motion
                   to Allow Interventio (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                   Exhibit D)(Sheedy, Kathryn) (Entered: 10/15/2024)
10/15/2024   221   RESPONSE IN OPPOSITION by USA as to Michael R. Capps re 219 MOTION for
                   Joinder Joint Motion for Distribution of Funds, 215 Joint Motion for Distribution of
                   Funds (Attachments: # 1 Exhibit A)(Sheedy, Kathryn) (Entered: 10/15/2024)
10/17/2024   222   MOTION for order of Judicial Recommendation for Designation to FPC Seagoville
                   by Michael R. Capps. (Rasch−Chabot, Jacob) (Entered: 10/17/2024)
10/21/2024   223   ORDER granting 222 Motion for Order as to Michael R. Capps (1). Signed by Chief
                   District Judge Eric F. Melgren on 10/21/2024. (This is a TEXT ENTRY ONLY.
                   There is no.pdf document associated with this entry.) (cm) (Entered: 10/21/2024)
10/24/2024   224   MANDATE from 10CCA affirming decision of the District Court as to defendant
                   Michael R. Capps (Appeal No. 23−3095) (Attachments: # 1 Judgment, # 2 10CCA

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                   Mandate Letter)(msb) (Entered: 10/24/2024)
10/27/2024   225   MOTION to Vacate by Michael R. Capps. (Capps, Michael) (Entered: 10/27/2024)
10/28/2024   226   ORDER granting 225 Motion to Vacate Doc 121 as to Michael R. Capps (1). Signed
                   by Chief District Judge Eric F. Melgren on 10/28/2024. (This is a TEXT ENTRY
                   ONLY. There is no.pdf document associated with this entry.) (cm) (Entered:
                   10/28/2024)
10/29/2024   227   REPLY TO RESPONSE TO MOTION by Duaglo, LLC, Charles Capps, Knopp Law
                   Group, P.A. as to Michael R. Capps re 219 MOTION for Joinder Joint Motion for
                   Distribution of Funds Joint Reply of Charles Capps and Duaglo, LLC to United
                   States Response in Opposition to Motion for Distribution of Funds (Knopp, Ted)
                   (Entered: 10/29/2024)
10/29/2024   228   REPLY TO RESPONSE TO MOTION by Duaglo, LLC, Charles Capps, Knopp Law
                   Group, P.A. as to Michael R. Capps re 217 Joint Motion to Allow Interventio Joint
                   Reply of Charles Capps and Duaglo, LLC to the Response in Opposition to
                   Intervention of Duaglo, LLC by the United States (Knopp, Ted) (Entered:
                   10/29/2024)
11/05/2024   229   MEMORANDUM AND ORDER denying as moot 207 MOTION for Order
                   Restraining Property and Rights to Property Available for Payment of Restitution;
                   denying 211 AMENDED MOTION for Order Restraining Property and Rights to
                   Property; denying 215 JOINT MOTION for Distribution of Funds; denying 217
                   JOINT MOTION to Allow Intervention; and granting 219 Motion for Joinder as to
                   Michael R. Capps (1). Claimant Charles Capps's Objection to Garnishment (Doc.
                   174) is overruled. Signed by Chief District Judge Eric F. Melgren on 11/5/2024. (kas)
                   (Entered: 11/05/2024)
11/13/2024   230   MOTION for Garnishee Order ,Garnishee Security 1st Title by USA as to Michael R.
                   Capps. (Attachments: # 1 Exhibit A − Appellant's Opening Brief filed on October 26,
                   2024)(Sheedy, Kathryn) (Entered: 11/13/2024)
11/18/2024   231   Unopposed MOTION for order for Extension of Time to Voluntarily Surrender by
                   Michael R. Capps. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Rasch−Chabot,
                   Jacob) (Entered: 11/18/2024)
11/19/2024   232   ORDER granting 231 Motion for Order or Extension of Time to Voluntarily
                   Surrender as to defendant Michael R. Capps (1). The Court therefore grants Capps'
                   Motion and extends his self−surrender date to December 31, 2024, or later as
                   determined by the BOP. Signed by Chief District Judge Eric F. Melgren on
                   11/19/2024. (msb) (Entered: 11/19/2024)
12/03/2024   233   MOTION for Reconsideration (Alter or Amend) re 229 Memorandum and Order by
                   Charles Capps as to Michael R. Capps. (Knopp, Ted) Modified text on 12/4/2024
                   (mls). (Entered: 12/03/2024)
12/10/2024   234   NOTICE OF DISPOSITION OF PASSPORT as to Michael R. Capps. Passport #
                   640927769, issued by the USA. Passport mailed to the U.S. Department of State,
                   tracking # 7022 0410 0003 3816 3655. (mam) (Entered: 12/10/2024)
12/17/2024   235   RESPONSE IN OPPOSITION by USA as to Michael R. Capps re 233 Motion to
                   Alter or Amend (for Reconsideration) re 229 Memorandum and Order (Sheedy,
                   Kathryn) Modified text (mls). (Entered: 12/17/2024)


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12/23/2024   236   TRANSCRIPT ORDER FORM: Transcript Requested Minute Entry 9/12/2024 re
                   193 Notice of Appeal filed by Michael R. Capps. (kmc) (Entered: 12/26/2024)
12/26/2024   237   REPLY TO RESPONSE TO MOTION by Charles Capps as to Michael R. Capps: Re
                   233 MOTION for Reconsideration 229 Order on Motions (Knopp, Ted) (Entered:
                   12/26/2024)
12/27/2024   238   CERTIFIED MAIL RECEIPT returned re 234 Notice of Disposition of Passport
                   addressed to U.S. Department of State. (kas) (Entered: 12/27/2024)
12/31/2024   239   NOTICE OF APPEAL TO 10CCA by Michael R. Capps re 229 Memorandum and
                   Order. (kmc) (Entered: 12/31/2024)
12/31/2024         APPEAL FEE STATUS: filing fee not paid re: 239 Notice of Appeal on behalf of
                   Defendants Michael R. Capps. CJA 23 filed on 5/30/2023. (THIS IS A TEXT ONLY
                   ENTRY−NO DOCUMENT IS ASSOCIATED WITH THIS TRANSACTION)
                   (kmc) (Entered: 12/31/2024)
12/31/2024   240   PRELIMINARY RECORD ON APPEAL transmitted to 10CCA as to Michael R.
                   Capps re 239 Notice of Appeal. (Attachments: # 1 Preliminary Packet)(kmc)
                   (Entered: 12/31/2024)
12/31/2024   241   APPEAL DOCKETED in 10CCA on 12/31/2024 and assigned Appeal No. 24−3204
                   re 239 Notice of Appeal filed by Michael R. Capps. (kmc) (Entered: 01/02/2025)
01/03/2025   242   ORDER of 10CCA abating this case pending the district court's decision on Doc No.
                   233, Motion for Reconsideration as to Michael R. Capps re 239 Notice of Appeal. (
                   Appeal No. 24−3204) (kmc) (Entered: 01/03/2025)
01/21/2025   243   LETTER FROM 10CCA advising petition for writ of certiorari filed re 101 Notice of
                   Appeal as to Michael R. Capps. (Supreme Court No. 24−6330 / Appeal No.
                   23−3095) (mam) (Entered: 01/21/2025)
01/23/2025   244   ORDER as to Michael R. Capps. The Government's Motion for Garnishee Order
                   (Doc. 230 ) is denied without prejudice. Signed by Chief District Judge Eric F.
                   Melgren on 1/23/2025. (mam) (Entered: 01/23/2025)
01/23/2025   245   MEMORANDUM AND ORDER as to Michael R. Capps. Claimant's Motion to
                   Alter or Amend (Doc. 233 ) is denied. Signed by Chief District Judge Eric F.
                   Melgren on 1/23/2025. (mam) (Entered: 01/23/2025)
01/23/2025   246   JUDGMENT RETURNED EXECUTED as to Michael R. Capps on 12/31/2024.
                   (mam) (Entered: 01/24/2025)
01/25/2025   247   MOTION to Reduce Sentence by Michael R. Capps. (Capps, Michael) (Entered:
                   01/25/2025)
01/26/2025   248   Supplemental MOTION to Reduce Sentence by Michael R. Capps. (Capps, Michael)
                   (Entered: 01/26/2025)
01/27/2025   249   ORDER as to Michael R. Capps re 248 Supplemental MOTION to Reduce Sentence
                   filed by Michael R. Capps, 247 MOTION to Reduce Sentence filed by Michael R.
                   Capps. The Federal Public Defender's Office shall have up to and including
                   2/10/2025 in which to notify the Court if they intend to represent this defendant or
                   not. Signed by Chief District Judge Eric F. Melgren on 1/27/2025. (This is a TEXT
                   ENTRY ONLY. There is no.pdf document associated with this entry.) (cm) (Entered:
                   01/27/2025)

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01/28/2025   250   ENTRY OF APPEARANCE on behalf of USA by Jared S. Maag (Maag, Jared)
                   (Entered: 01/28/2025)
01/31/2025   251   ORDER of 10CCA to Supplement Record on Appeal re 193 Notice of Appeal.
                   (Appeal No. 24−3083) (kao) (Entered: 01/31/2025)
01/31/2025   252   SUPPLEMENTAL RECORD ON APPEAL retrieved by 10CCA re 193 Notice of
                   Appeal. No. of Volumes: 3. Supplemental Volume I − Pleadings, Supplemental
                   Volume II − Sealed Pleading, Supplemental Volume III − Government's Exhibit 1.
                   (Appeal No. 24−3083) (This is a TEXT ENTRY ONLY. There is no.pdf document
                   associated with this entry.) (kao) (Entered: 01/31/2025)
02/01/2025   253   Renewed Motion to Expedite Consideration of Defendant's Motion for
                   Compassionate Release re 247 Motion to Reduce Sentence by Michael R. Capps.
                   (Capps, Michael) Modified on 2/3/2025 to correct docket text and motion event (kas).
                   (Entered: 02/01/2025)
02/05/2025   254   MOTION to Dismiss Compassionate Release Motions re 247 , 248 , and 253 by USA
                   as to Michael R. Capps. (Attachments: # 1 Exhibit RIS − Warden FCI
                   Florence)(Maag, Jared) Modified on 2/6/2025 to update docket text (kas). (Additional
                   attachment(s) added on 2/6/2025: # 2 REDACTED Exhibit) (kas). Modified on
                   2/6/2025 to update motion event (kas). (Entered: 02/05/2025)
02/08/2025   255   RESPONSE TO MOTION by Michael R. Capps re 254 MOTION (Capps, Michael)
                   (Entered: 02/08/2025)
02/10/2025   256   COMBINED NOTICE OF APPEAL AND CONDITIONAL MOTION FOR
                   EXTENSION OF TIME TO FILE NOTICE OF APPEAL by Duaglo, LLC, Charles
                   Capps as to Michael R. Capps re 245 Order on Motion for Reconsideration. (Knopp,
                   Ted) Modified on 2/11/2025 to correct event type and update docket text (kas).
                   (Entered: 02/10/2025)
02/10/2025   257   Correspondence Received on Behalf of Defendant (per EFM). (ca) (Entered:
                   02/10/2025)
02/10/2025   258   NOTICE OF APPEAL TO 10CCA by Duaglo, LLC, Charles Capps as to Michael R.
                   Capps re 229 Memorandum and Order and 245 Memorandum and Order.
                   (RE−FILED DE 256 FOR ADMINISTRATIVE PURPOSES) (kas) (Entered:
                   02/11/2025)
02/11/2025         APPEAL FEE STATUS: filing fee not paid re 258 Notice of Appeal. (ca) (Entered:
                   02/11/2025)
02/11/2025         APPEAL FILING FEE PAID ONLINE BY CREDIT CARD: re: 258 Notice of
                   Appeal (paid $605 Appeal fee; Credit Card Receipt Number BKSDC−6582575)
                   (Knopp, Ted) (Entered: 02/11/2025)




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                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS


  UNITED STATES OF AMERICA,

                    Plaintiff,




   vs.                                                             Case No. 21-10073-EFM

  MICHAEL R. CAPPS,

                    Defendant.




                                   MEMORANDUM AND ORDER

         This matter primarily comes before the Court on Claimant Charles Capps’s Objection

(Doc. 174)1 to the Government’s Writ of Continuing Garnishment as to funds, in the amount of

$74,573.37, held by Security 1st Title, LLC. The funds at Security 1st are the proceeds from a

sale of a residence that Defendant Michael Capps used to own. Claimant is the son of Defendant,

and he asserts that the Government does not have a right to the funds held by Security 1st and that

he is entitled to $50,000 of those funds due to a mechanic’s lien. The Government contends that

it is entitled to the Security 1st funds, and Claimant’s mechanic’s lien is invalid.




         1
           Claimant entitled this document “Limited Appearance of Claimant Charles Capps to Object to Garnishment
and to Provide Notice of Interpleader Action.”




                                                                                                                    31
       The Government also filed a Motion for Order Restraining Property and Rights to Property

Available for Payment of Restitution (Doc. 207)2 and an Amended Motion for Order Restraining

Property and Rights to Property Available for Payment of Restitution (Doc. 211).                 The

Government seeks to restrain Defendant, or any person or entity acting on his behalf, from taking

any action that would diminish the value of Defendant’s real or personal property.

       The Court held a hearing on Claimant’s Objection and the Government’s first Motion for

Restraining Order on September 12, 2024. Several weeks after the hearing, Claimant’s attorney

entered his appearance for Duaglo, LLC. Duaglo was involved in the redemption and sale of

Defendant’s residence because Duaglo advanced the redemption funds to Defendant. Claimant

and Duaglo filed joint motions requesting that the Court allow intervention by Duaglo into the case

(Doc. 217) and for distribution of the Security 1st funds to Claimant, Claimant’s attorney, and

Duaglo (Doc. 215). In addition, Defendant filed a Motion to Join in support of Claimant’s and

Duaglo’s motions (Doc. 219). The Government opposes these motions.

       For the reasons stated in more detail below, the Court overrules Claimant’s Objection. In

addition, the Court denies as moot the Government’s first Motion for Restraining Order and denies

the Government’s Amended Motion for Restraining Order. Finally, the Court grants Defendant’s

Motion for Joinder, but the Court denies Claimant’s and Duaglo’s Joint Motions for Intervention

and Distribution of Funds.




       2
           Defendant Capps filed an untimely response to this motion, and the Court struck it.



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                                                                                                       32
                             I.   Factual and Procedural Background

A.     Defendant Michael Capps’s Underlying Criminal Case

       On September 8, 2021, Defendant Michael Capps was indicted on 19 counts related to a

fraudulent COVID-19 relief scheme. Defendant proceeded to trial. On December 21, 2022, he

was found guilty on 12 counts, including one count of bank fraud, three counts of false statements

to a bank and the Small Business Administration, four counts of wire fraud, and four counts of

money laundering.

       On May 11, 2023, the Court sentenced Defendant to 27 months’ imprisonment, to be

followed by two years of supervised release. Defendant was ordered to pay $318,647.21 in

restitution, and the Court entered a forfeiture judgment in the amount of $178,193.17. Defendant

appealed his conviction to the Tenth Circuit on May 17, 2023. The Court allowed Defendant’s

release during his appeal.

       On August 13, 2024, the Tenth Circuit issued its order on Defendant’s underlying appeal

finding that it was not plain error or an abuse of discretion to instruct the jury at the beginning of

Defendant’s case. Thus, the Tenth Circuit affirmed this Court’s judgment and issued the mandate

on October 24, 2024.

B.     Garnishment Proceedings as to Defendant Capps

       During the pendency of Defendant’s appeal, the Government initiated garnishment

proceedings as to Defendant’s property to recover the amount of restitution Defendant owes.




                                                 -3-


                                                                                                         33
Defendant filed numerous motions and objections to the garnishment proceedings. The Court

denied Defendant’s motions in an Order dated June 13, 2024.3

       Defendant appealed this Court’s June 13 Order to the Tenth Circuit, and the Government

filed a Motion to Dismiss Defendant’s appeal. These matters remain pending in the Tenth Circuit

with the same panel of judges. On July 23, 2024, this Court granted Defendant’s Motion to Stay

Enforcement of the June 13 Order until the Tenth Circuit issues a decision on that appeal and/or a

decision on the Government’s Motion to Dismiss the Appeal.

C.     Defendant’s Governeour Street Residence and Claimant’s Objection

       On February 8, 2020, Defendant and Claimant entered into an agreement (“Remodeling

Contract”) for Claimant to renovate an unoccupied, residential property on Governeour Street

(“Residence” or “Property”). The Remodeling Contract provided that Defendant would pay

Claimant $50,000 upon the sale of the Residence. In addition, Defendant agreed to pay Claimant

50% of any net proceeds in excess of $100,000.

       On May 11, 2022, Lakeview Loan Servicing, LLC (“Lakeview”), filed a Petition to

Foreclose Mortgage in the District Court of Sedgwick County, Kansas against Defendant, relating

to the Governeour Street Residence. Defendant informed Claimant of the foreclosure petition, and

Claimant shortly thereafter stopped work on the Property because he was concerned that he would

not be compensated.




       3
           Doc. 192. The Court will not set forth its rulings here.



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                                                                                                     34
        On February 17, 2023, a Judgment of Foreclosure was granted to Lakeview which directed

the Residence to be sold if the judgment was not satisfied within 14 days. In the Foreclosure

Judgment, Lakeview was granted a judgment of $119,481.75.4

        On June 28, 2023, the Sheriff of Sedgwick County sold the Residence by credit bid, to

Lakeview for $152,708.59. An order confirming the sale was entered on July 24, 2023. This order

also showed Defendant’s redemption period expiring on September 28, 2023—three months after

the date of sale.

        Claimant avers that after the June 28 sale, he and Defendant evaluated the Property in its

unfinished condition and the value of the Property if remodeling were complete. They determined

that there was equity remaining in the Property if the remodeling was finished. Starting on or after

June 28, 2023, Claimant began working on the Residence to make it marketable. Some of the

tasks Claimant completed included installing carpet, building a new deck, installing countertops,

remodeling bathrooms, and painting interior surfaces.

        On August 18, 2023, the Government filed its Notice of Lien for Fine and/or Restitution

with the Register of Deeds of Sedgwick County. Defendant resided at the Governeour Street

Residence, so the Government filed two different types of liens—one to encumber all of

Defendant’s personal property, and the other one to encumber Defendant’s real estate.

        Defendant had no money to redeem the Property, so he entered into an agreement with

Duaglo to redeem the Property. On August 28, 2023, Defendant transferred his interest in the

Governeour Street Residence, including his equitable and statutory right to redeem the Property


        4
          Cybertron International, Inc. was granted a second lien against the Property, and Claimant (as a John Doe)
was found to have no interest in the Property. See Doc. 197-1 at 3, ¶ 5.



                                                        -5-


                                                                                                                       35
and the right to any surplus upon Sheriff’s sale, to Duaglo. In a separate agreement, Defendant

reserved the right to occupy the Property and the right to repurchase from Duaglo for $167,708.59.

No funds were exchanged between Duaglo and Defendant.

        On August 28, 2023, Duaglo redeemed the Governeour Street Residence by paying the

redemption price of $155,027.04 to the Court Clerk for the District Court of Sedgwick County.

On September 28, 2023, Duaglo entered a contract with Gary Bohannon to sell the Residence for

$253,500, with a closing date of November 28, 2023, but the closing date was delayed.

        Claimant completed the remodeling work on November 27, 2023, and on November 28,

2023, he filed a Statement of Lien for Labor, Equipment, Material and Supplies (“mechanic’s

lien”) with the District Court of Sedgwick County. He attached the Remodeling Contract between

him and Defendant to the filing. Claimant asserts that this Remodeling Contract was reaffirmed

between the parties after the Sheriff’s sale on June 28, 2023.

        On December 13, 2023, Duaglo and Defendant executed an Extension and Amendment of

Contract for Purchase of Property and Redemption Rights (“Amendment”). This Amendment

reduced the price for Defendant to repurchase the Property from Duaglo from $167,708.59 (the

original agreement price) to $155,027.04 (the amount Duaglo paid to redeem the Property).5 The

Amendment states that the Government agreed that (a) Duaglo may be paid out of the closing

amount on the condition that the price be $155,027.04, and that (b) the Government would “file a

Partial Release of Judgment Lien that releases the Property from the lien in exchange for the

deposit of all funds ‘due to Seller’ at Closing into an escrow with Security 1st to be held pending


        5
          The Amendment reduced the profit due to Duaglo of $12,681.58 to zero. The Court notes that Duaglo and
Claimant state that the amount would have been $12,881.58, but the amount actually equals $12,681.58.



                                                     -6-


                                                                                                                  36
agreement of the parties or entry of an order of a court with jurisdiction (the ‘Escrowed Proceeds’)

directing payment by Security 1st.”6

         On December 14, 2023, Duaglo conveyed the Property to Defendant by Statutory Warranty

Deed, and then Defendant conveyed the Property to the Bohannons by Statutory Warranty Deed.

The net sale proceeds remaining after payment to Duaglo of $155,027.04 and all other costs of

sale are $74,550.37. Security 1st is holding $74,573.37 in escrow.7

         The Government, Defendant, and Claimant were unable to reach an agreement as to the

disposition of the net sale proceeds from the sale of the Governeour Street Residence.

         On February 5, 2024, the Government filed an Application for Writ of Continuing

Garnishment as to Property held by Security 1st, and the Court issued the Writ that same day. In

addition, the Government filed a Notice of Garnishment to Interested Party Charles Capps.

         On February 27, 2024, Claimant, represented by counsel, filed an Objection to the Writ of

Continuing Garnishment as to the funds held by Security 1st.8 In this Objection, Claimant objected

to the garnishment of any funds on deposit with Security 1st and notified the Court of a civil


       6
         Doc. 197-1, pp. 9–11. The Government concedes that it required this Amendment; otherwise, the
Government would not release the lien on the Property.
         7
             The Government asserts that it is unclear as to why the amounts differ slightly.
          8
            Doc. 174. On February 29, 2024, Security 1st filed an Answer to the Writ of Garnishment, stating that it
has custody or possession of a cash deposit of $74,573.37. It lists Defendant’s interest as a stakeholder/escrow agent.
It also references the interpleader action in Sedgwick County District Court and states that “Defendant has competing
claims to the funds.” Security 1st requests an order to pay the funds into the Court. (Doc. 176).
          Defendant Capps also filed an Exemption Claim and Hearing Request related to the Security 1st funds. In
this document, Defendant stated that the Property was subject to an interpleader adjudication in Sedgwick County
District Court and requested a hearing (Doc. 175). The Government objected. The Court ruled on Defendant’s
exemption claim and hearing request in its June 13, 2024 Order. The Court found Defendant did not meet his burden
of showing that he was entitled to relief because his request was conclusory. In addition, the Court determined that
none of the exemptions set forth in 26 U.S.C. § 6334(a)(1)–(8), (10), and (12) were applicable to Defendant because
those exemptions did not cover the sale of a personal residence. Furthermore, the Court denied Defendant’s request
for a hearing. That order is currently on appeal to the Tenth Circuit.



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                                                                                                                          37
Interpleader Action that he filed that day in Sedgwick County District Court, entitled Charles

(Chaz) Capps v. Michael Capps, the United States of America, & Security 1st Title LLC

(“Interpleader Action”).9      Claimant’s Objection was only two pages, but he attached the

Interpleader Action. In the Interpleader Action, Claimant stated that he had a mechanic’s lien in

the amount of $50,000 in the escrowed funds and that his lien takes priority over other interests.

Claimant requested that the Sedgwick County District Court determine the ownership and

priorities of the parties to the Security 1st escrowed funds that are subject to the Writ of

Garnishment.10

        The Government filed a Response to the Objection arguing that Claimant does not have a

valid mechanic’s lien because he failed to comply with the statutory requirements of K.S.A. § 60-

1102, or in the alternative, Claimant’s mechanic’s lien is unenforceable pursuant to K.S.A. § 60-

2414(k). Subsequently, the Court directed Claimant to file a reply to the Government’s response.

Claimant filed another “Objection to Garnishment” setting forth facts and the basis for his

objection to the garnishment of the Security 1st Title funds.11 In his Reply or (Second) Objection,

Claimant argues that the Government does not have any right to the Security 1st Title funds for

multiple reasons.

        Claimant also filed a Motion or Request for Hearing on his Objection. The Government

responded by asserting that Claimant did not have a right to a hearing. In addition, the Government



        9
            Case No. SG-2024-CV-000357.
        10
          The Government subsequently removed the case to this Court on March 8, 2024. Case No. 24-1042-EFM-
TJJ. There is a pending unopposed Motion to Dismiss in that case.
        11
             Doc. 197.



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                                                                                                               38
procedurally objected to Claimant’s (Second) Objection, stating that it was improper, and

requested that the Court strike it.12 The Government and Claimant continue to disagree as to

whether Claimant is entitled to $50,000 of the funds being held in escrow by Security 1st.

         The Court granted Claimant’s request for a hearing and held it on September 12, 2024.13

At the hearing, the Court requested supplemental briefing on two limited issues. Specifically, the

Court requested that the Government provide authority for its position that Duaglo’s redemption

rights—purchased from Defendant—were encumbered by the restitution lien against Defendant

and thus the restitution lien also attached to the Property’s sale proceeds. In addition, the Court

requested that Claimant provide authority for his position that his Interpleader Action cured the

technical failure of his mechanic’s lien.

         After the supplemental briefing concluded, and several weeks after the hearing, Claimant’s

attorney entered his appearance for Duaglo. Claimant and Duaglo filed joint motions requesting

Duaglo’s intervention into the case and requesting distribution of the entirety of the Security 1st

funds to Claimant, Duaglo, and their attorney. Specifically, they seek the distribution of $50,000

to Claimant, $5,000 to Claimant’s attorney for attorney fees to date, and the remainder (amounting

to approximately $19,573) to Duaglo. In addition, Defendant filed a Motion to Join the joint

motions.




         12
            Doc. 200. The Court acknowledges the procedural irregularities in this case, but it will not strike the
(Second) Objection but will instead consider it as Claimant’s Reply and consider it on the merits. The Court also
notes that Claimant (and now Duaglo) continue to raise additional issues/arguments after Claimant’s initial Objection
was filed. Generally, if a party fails to raise an argument in its initial brief, the argument is waived. Although the
Court addresses some of the issues Claimant raises in his supplemental briefing, it will not address all the additional
issues raised in the (Second) Objection, Reply briefs, and supplemental memorandum.
         13
              The Court also heard argument on the Government’s Motion to Restrain Property and Rights to Property.



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                                                 II.      Analysis

A.       Claimant’s Objection

         Claimant contends that the Government does not have any rights to the Security 1st

escrowed funds in the amount of $74,573.37, and the Government argues that it is entitled to all

the Security 1st funds. Claimant makes several arguments that the Government failed to properly

obtain rights to the Property. First, Claimant contends that the Government should have redeemed

the Property, but the Government failed to do so. Next, Claimant argues that Defendant’s right to

repurchase the Property expired on November 28, 2023—the scheduled closing date. Thus, he

argues that because Defendant did not repurchase the Property before that date, Defendant did not

have any rights to the Property and so neither did the Government. Finally, Claimant asserts that

he has a valid mechanic’s lien and that he is entitled to $50,000 of those funds.14

         The Government argues that its restitution lien attached to Defendant’s right of redemption.

So when Duaglo purchased Defendant’s redemption rights, Duaglo purchased the restitution rights

encumbered with the lien. The Government also asserts that the restitution lien did not merely

attach to the redemption rights but also ran with the Property. Finally, the Government contends

that Claimant does not have a valid mechanic’s lien because it fails to comply with the statutory

requirements of K.S.A. § 60-1102.15 The Court agrees with the Government.



         14
            In Claimant’s (Second) Objection, he also requested that the Court restore to Duaglo the agreed-upon profit
between Defendant and Duaglo in the amount of $12,881.58. This issue was technically raised as a new issue in the
“reply” brief, and Claimant would not have standing to assert Duaglo’s rights. After the briefing and hearing on
Claimant’s Objection, Duaglo and Claimant requested that Duaglo be allowed to intervene in the case and requested
distribution of funds to Duaglo (in the amount of approximately $19,500). The Court will address these contentions
below.
        15
           The Government also argues, in the alternative, that Claimant’s mechanic’s lien is unenforceable pursuant
to K.S.A. § 60-2414(k). The Court finds it unnecessary to address this argument.



                                                        -10-


                                                                                                                          40
         1.         The Government’s Right to the Security 1st Funds

         Pursuant to 18 U.S.C. § 3613(c), an order of restitution operates as “a lien in favor of the

United States on all property and rights to property of the person fined as if the liability of the

person fined were a liability for a tax assessed under the Internal Revenue Code of 1986.”16

“[W]hether a state-law right constitutes ‘property’ or ‘rights to property’ is a matter of federal

law.”17 There is a two-part test that the Court must consider when the Government seeks to enforce

its tax lien against identified property.18 First, the Court looks “to state law to determine what

rights the taxpayer has in the property the Government seeks to reach.”19 Next, the Court considers

“federal law to determine whether the taxpayer’s state-delineated rights qualify as ‘property’ or

‘rights to property’ within the compass of the federal tax lien legislation.”20

          In this case, Security 1st is holding escrowed funds related to the sale of the Governeour

Street Residence. Defendant was the owner of it when it was foreclosed upon by Lakeview in

2022. On May 11, 2023, the Court entered a Judgment against Defendant with restitution ordered

in the amount of $318,647.21. This order of restitution operated as a lien on all Defendant’s

property and rights to property.21



         16
              18 U.S.C. § 3613(c).
         17
           Drye v. United States, 528 U.S. 49, 58 (1999) (quoting United States v. Nat’l Bank of Commerce, 472 U.S.
713, 727 (1985)).
         18
            United States v. Wilhite, 774 F. App’x 478, 484 (10th Cir. 2019) (citing In re Krause, 637 F.3d 1160, 1163
(10th Cir. 2011) (quoting Drye, 528 U.S. at 58)).

         19
              Drye, 528 U.S. at 58.
         20
              Id.
         21
            18 U.S.C. § 3613(c) (stating that an order of restitution operates as “a lien in favor of the United States on
all property and rights to property of the person,” and “[t]he lien arises on the entry of judgment.”).



                                                          -11-


                                                                                                                             41
        Defendant, as the owner of the Governeour Street Residence, had the statutory right to

redeem the Property pursuant to K.S.A. § 60-2414. On June 28, 2023, the Property was sold by

Sheriff’s sale, and Defendant was given a three-month redemption period until September 28,

2023. This state-law right to redeem is considered Defendant’s property.

        On August 18, 2023, the Government filed its Notice of Lien for Fine and/or Restitution

with the Register of Deeds of Sedgwick County. Pursuant to 18 U.S.C. § 3613(d), “upon filing of

a notice of lien in the manner in which a notice of tax lien would be filed . . . the lien shall be valid

against any purchaser” subject to some exceptions.22 Thus, the Government’s lien against

Defendant’s property and rights to property attached on May 11, 2023 pursuant to the Order of

Restitution.       Therefore, unless an exception applies, the Government’s lien extended to

Defendant’s property right to redeem.

        On August 28, 2023—three months after the restitution order was entered against

Defendant and ten days after the Government filed its Notice of Lien in Sedgwick County—

Defendant transferred his interest in the Governeour Street Residence to Duaglo. The transfer

included Defendant’s equitable and statutory right to redeem the Property and the right to any

surplus. That same day, Duaglo redeemed the Governeour Street Residence.23 As noted above,

once the notice of lien is filed, it “shall be valid against any purchaser” subject to certain exceptions

in 26 U.S.C. § 6323(b), (c), or (d).24 Duaglo, as an assignee of redemption rights of real property,



        22
             18 U.S.C. § 3613(d).
        23
           Claimant and Duaglo contend that Duaglo’s purchase and redemption was a purchase money interest. The
Court finds that the redemption rights were already encumbered with the lien, so regardless of how Claimant and
Duaglo categorize the transaction, the redemption rights were encumbered with the government lien.
        24
             18 U.S.C. § 3613(d).



                                                     -12-


                                                                                                                  42
does not fall under any of the exceptions. Thus, when Duaglo obtained Defendant’s redemption

rights, and redeemed the Property, Duaglo obtained the Property encumbered by the Government’s

lien.

         The Court recognizes that K.S.A. § 60-2414(h) states that an assignee or transferee of a

right to redemption “shall have the same right of redemption as the defendant owner,” and that

“[t]he assigned or transferred right of redemption shall not be subject to levy or sale on execution.”

However, the Court only looks to state law “for delineation of the taxpayer’s rights or interests”

and “leave[s] to federal law the determination whether those rights or interests constitute ‘property’

or ‘rights to property’ within the meaning of § 6321.”25 Here, the state law first provides that

Defendant has the redemption right, and thus, the redemption right is Defendant’s property. Then,

the Court must turn to federal law, and federal law provides that upon the Government’s filing of

a notice of lien, it is “valid against any purchaser” except to certain properties or transactions.26

None of the exceptions set forth by federal law are present in this case. Thus, federal law dictates

that the redemption right was Defendant’s property, and Duaglo obtained that redemption right

subject to the restitution lien against Defendant.

         In addition, the federal lien did not simply attach to the right of redemption that Duaglo

obtained. Instead, the lien ran with the Property. “The transfer of property subsequent to the

attachment of the lien does not affect the lien, for ‘it is of the very nature and essence of a lien,

that no matter into whose hands the property goes, it passes cum onere.’”27 Because Defendant’s


         25
              Drye, 528 U.S. at 52.
         26
              18 U.S.C. § 3613(d) (emphasis added).
         27
            United States v. Bess, 357 U.S. 51, 57 (1958) (quoting Burton v. Smith, 38 U.S. 464, 483 (1839)); see also
Russell v. United States, 551 F.3d 1174, 1179 (10th Cir. 2008) (“The transfer of the attached property ‘does not affect


                                                        -13-


                                                                                                                          43
redemption rights were encumbered with the lien, Duaglo’s redemption rights were also

encumbered by the same lien. So, when Duaglo redeemed the Property, the Property was

encumbered with the lien.

        In sum, the Government’s lien attached to Defendant’s property rights and to Defendant’s

property. When Duaglo obtained Defendant’s right to redeem, Duaglo obtained those rights

encumbered by the Government’s lien. And when Duaglo redeemed the Property, the Property

was also encumbered with the lien. Accordingly, when the Property was sold—regardless of

whether Defendant or Duaglo sold it—the proceeds from the sale of that Property were

encumbered by the Government’s lien. Accordingly, the Government is entitled to the proceeds.

        2.      Claimant’s Mechanic’s Lien

        Claimant contends that he is entitled to $50,000 of the escrowed funds due to a mechanic’s

lien. The Court finds that Claimant does not have a valid mechanic’s lien. “Mechanics’ liens are

governed by K.S.A. 60-1101 et seq. They are designed to protect unpaid suppliers of labor and

materials for real estate construction projects.”28 “Kansas law requires strict compliance with the

procedure prescribed in the statute in order to perfect a mechanic’s lien.”29

        K.S.A. § 60-1102(a)(2) requires that any person claiming a lien on real property must file

a verified statement with “the name and address sufficient for service of process of the claimant”

within four months after the last labor performed.



the lien because no matter into whose hands the property goes, the property passes cum onere, or with the lien
attached.’”) (quoting United States v. Cache Valley Bank, 866 F.2d 1242, 1244-45 (10th Cir. 1989)).
        28
             Tarlton v. Miller’s of Claflin, Inc., 43 Kan. App. 2d 547, 227 P.3d 23, 26 (2010) (citing K.S.A. § 60-1101)).
         29
            Buchanan v. Overley, 39 Kan. App. 2d 171, 178 P.3d 53, 56 (2008) (citing Haz-Mat Response, Inc. v.
Certified Waste Servs. Ltd., 259 Kan. 166, 910 P.3d 839 (1996)).



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                                                                                                                             44
         Claimant filed his mechanic’s lien on November 28, 2023 with the District Court of

Sedgwick County, asserting that he was entitled to $50,000. Claimant’s lien, however, does not

comply with § 60-1102(a)(2) because the address Claimant provided on his mechanic’s lien was

for a property at which Claimant did not reside.30 Because Claimant did not live at the provided

address, it cannot be considered sufficient for service of process. Without an address sufficient

for service of process on Claimant, the mechanic’s lien does not strictly comply with the statute

and is invalid.31

         Claimant concedes that the mechanic’s lien contains an invalid address.32 Claimant,

however, asserts that the filing of the Interpleader Action cured any defects in the mechanic’s lien

because the Interpleader Action was filed within the four-month timeframe as required under

K.S.A. § 60-1102(a).33 Thus, Claimant asserts that the correct address for service of process is

satisfied by the filing of his Interpleader Action. The Court disagrees.

         K.S.A. § 60-1105(b) provides that “[w]here action is brought to enforce a lien the lien

statement may be amended by leave of the judge in furtherance of justice, except to increase the

amount claimed.” Claimant, however, never sought leave to amend. Instead, Claimant filed an



         30
            The Government provides an affidavit from the current owner of the property for which Claimant stated
was his address. The affiant states that Claimant has not resided at the residence or conducted business from the
property since the affiant/owner took possession in December 2021. Thus, Claimant’s November 28, 2023 mechanic’s
lien, in which he stated that the address was his, was incorrect.
         31
            Buchanan, 178 P.3d at 58 (finding that because the claimant “failed to strictly comply with the
requirements of K.S.A. 60-1102 by not verifying his address sufficient for service of process, the district court erred
in holding that the lien was valid.”).
         32
              At the hearing, Claimant provided no reason for the incorrect address.
         33
             K.S.A. § 60-1102(a) requires that a mechanic’s lien be filed “within four months after the date material,
equipment or supplies, used or consumer was last furnished or last labor performed under the contract.” Claimant
states in the mechanic’s lien that the last day labor was performed or materials furnished were on November 27, 2023.



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                                                                                                                          45
Interpleader Action. And in the Interpleader Action, he asserted that his mechanic’s lien had

priority over other liens or encumbrances and explicitly relied on the mechanic’s lien.34 Nowhere

in the Interpleader Action did Claimant assert that the mechanic’s lien needed to be amended. In

fact, Claimant specifically and explicitly relied on the mechanic’s lien as though it were proper.

Even when confronted with the facts and evidence that the address was incorrect, Claimant never

requested that the Court allow him to amend the mechanic’s lien and never sought to provide an

amended mechanic’s lien.

         Furthermore, Kansas law would prohibit the Court from allowing Claimant to amend his

mechanic’s lien. “K.S.A. 60-1105(b) does not permit the trial court to allow amendment of a

vitally defective mechanic’s lien statement after the statutory filing period has expired.”35 Here,

Claimant’s original mechanic’s lien was vitally defective because it did not comply with K.S.A.

§ 60-1102(a)(2)’s requirement of a name and address sufficient for service of process of the

claimant. In addition, the statutory filing period had long expired, and Claimant made no effort to

amend the mechanic’s lien prior to the expiration of the statutory filing period.36 As noted above,

the filing of the Interpleader Action, which contained no allegations as to an amended mechanic’s

lien, or the need to change or amend the mechanic’s lien, was insufficient to place anybody on

notice that Claimant sought to amend his original mechanic’s lien. Thus, Claimant’s Interpleader




         34
              Even in the Interpleader Action, Claimant does not provide his address.
         35
              Tradesmen Int’l, Inc. v. Wal-Mart Real Estate Bus. Trust, 35 Kan. App. 2d 146, 129 P.3d 102, 106 (2006).
         36
          On March 29, 2024, the Government asserted that Claimant’s mechanic’s lien did not strictly comply with
the mechanic’s lien statute due to the incorrect address. This date was within the four-month statutory filing period.
Claimant could have, at that time, sought to amend the mechanic’s lien. Claimant did not, and has never sought to,
amend the mechanic’s lien but instead relies on his Interpleader Action as the “amendment.”



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Action did not cure his original defective mechanic’s lien, and Claimant’s mechanic’s lien is

invalid because it did not strictly comply with the statutory requirements.

       In sum, the Court overrules Claimant’s Objection. This Court must follow Kansas law and

its requirement of strict compliance with the mechanic’s lien statute. Accordingly, Claimant has

no valid, legal right to $50,000 of Security 1st’s escrowed funds.

B.     Claimant’s and Duaglo’s Joint Motions

       After the Court held a hearing on Claimant’s Objection, Claimant and Duaglo filed a Joint

Motion for Intervention by Duaglo. In this motion, Claimant and Duaglo seek the Court’s leave

to allow Duaglo to intervene in the case to claim an interest in the escrowed funds with Security

1st. The parties state that they entered into a Joint Representation Agreement and an agreement

as to the distribution of the funds. The Government opposes the motion arguing that the motion

lacks both factual and legal support, is untimely, and cannot serve as a legal basis for Duaglo’s

intervention in this proceeding.

       In addition, Claimant and Duaglo jointly filed a Motion for Distribution of Funds. In this

motion, they request that the Court distribute the Security 1st escrowed funds to Claimant,

Claimant’s attorney, and Duaglo. The Government asserts that if Duaglo is not permitted to

intervene, then Duaglo has no standing to request distribution of the funds. In addition, the

Government states that the parties are not entitled to the funds because they provide no valid basis

for the amounts claimed.




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           1.          Duaglo’s and Claimant’s Motion to Intervene

           Federal Rule of Civil Procedure 24(a) governs intervention as a matter of right, and Rule

24(b) governs permissive intervention.37

           Under Rule 24(a), an applicant may intervene as a matter of right if (1) the
           application is timely, (2) the applicant claims an interest relating to the property or
           transaction which is the subject of the action, (3) the applicant’s interest may be
           impaired or impeded, and (4) the applicant’s interest is not adequately represented
           by existing parties.38

Permissive intervention under Rule 24(b) requires a timely motion and that the intervening party

“has a claim or defense that shares with the main action a common question of law or fact.”39

Timeliness of a motion to intervene is determined by considering all the circumstances, “including

the length of time since the applicant knew of his interest in the case, prejudice to the existing

parties, prejudice to the applicant, and the existence of any unusual circumstances.”40

          Duaglo and Claimant do not reference intervention under Rule 24 or whether they seek

mandatory or permissive intervention. Thus, they fail to address any of Rule 24’s requirements.

But even if they had addressed Rule 24,41 they further fail to meet any of its requirements.




           37
                Fed. R. Civ. P. 24(a), (b).
           38
                Elliott Indus. Ltd. P’ship v. BP Am. Prod. Co., 407 F.3d 1091, 1103 (10th Cir. 2005).
           39
                Fed. R. Civ. P. 24(b).
           40
                Elliott Indus., 407 F.3d at 1103 (quoting Utah Ass’n of Counties v. Clinton, 255 F.3d 1246, 1250 (10th Cir.
2001)).
           41
          In their Reply, Duaglo and Claimant briefly contend that Duaglo is entitled to intervene as a matter of right
under Fed. R. Civ. P. 24(a). They raise this argument for the first time in the reply brief and thus the argument is
untimely.



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                                                                                                                              48
       As to timeliness, Duaglo knew of its interest in the case for quite some time. On December

13, 2023, Duaglo and Defendant executed an Amendment to their original contract. In this written

Amendment, Duaglo agreed to the lower re-purchase price of $155,027.04 (instead of the original

purchase price of $167,708.59) from Defendant.                  This Amendment also provided that the

Government would file a partial release of the judgment lien in exchange for all the funds due to

the seller being placed in escrow at Security 1st. On December 14, 2023, Duaglo conveyed the

Property to Defendant, and Defendant conveyed the Property to the new purchasers. Duaglo

received its $155,027.04. After the other costs of the sale, the remaining $74,573.37 was placed

in escrow at Security 1st.

       In February 2024, the Government applied for, and received, a Writ of Garnishment to the

funds held by Security 1st. The Government provided Notice of the Garnishment on February 9,

2024. Generally, 28 U.S.C. § 3202(c) and (d) provide that an interested party has 20 days to claim

an interest, request a hearing, or move to quash. Within this 20-day time period, Claimant filed an

Objection to this Writ of Garnishment, which has been extensively discussed above.42 Duaglo did

not. Instead, Duaglo first requested intervention into the garnishment proceeding over seven

months after the Notice and three weeks after the Court held a hearing on Claimant’s Objection.

Thus, Duaglo’s request for intervention is extremely untimely and is not warranted under either

Rule 24(a) or (b).43




        42
             Defendant also filed an Exemption Claim.
        43
           The Court recognizes that Claimant attempted to assert Duaglo’s alleged right to $12,681.58 in his Second
Objection to the Writ of Continuing Garnishment on June 24, 2024. However, Claimant did not have standing to
make this request. Furthermore, as will be discussed, Duaglo has no valid legal basis to this money.



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                                                                                                                       49
       In addition, mandatory intervention requires the party to claim an interest relating to the

property. Although the Court recognizes that Duaglo claims an interest to the Property, it does not

claim a valid interest. The facts demonstrate that Duaglo released its interest in the Governeour

Street Property when it signed the December 13, 2023 Amendment lowering the purchase price to

$155,027.04. This amount is all Duaglo is entitled to, and Duaglo received that amount on

December 14, 2023 when it executed the statutory warranty deed and transferred the property.

Duaglo cannot now revive the original agreement between it and Defendant. Thus, Duaglo cannot

demonstrate that it has a valid interest in the Property.44 Accordingly, the Court denies Claimant’s

and Duaglo’s Joint Motion to Intervene.

        2.    Duaglo’s and Claimant’s Motion to Distribute

         In this joint motion, Duaglo and Claimant request disbursement of the Security 1st

escrowed funds in the amount of $74,573.37. Specifically, they request $50,000 to Claimant,

$5,000 for Claimant’s attorney fees, and the remainder (approximately $19,500) to Duaglo. First,

as to the request for $5,000 in attorney fees and approximately $19,500 to Duaglo,45 there is no

basis in law or fact for these requests.46 Next, as to the requested $50,000 for Claimant, the Court




          44
             See, e.g., Educ. Credit Mgmt. Corp. v. Bradco, Inc., 2008 WL 2066993, at *4 (D. Kan. May 14, 2008)
(stating that although Rule 24 does not explicitly take into consideration the merits of a proposed claim, the futility of
a proposed claim when determining whether intervention is appropriate is arguably “part of the inquiry under the
second element of intervention of right under rule 24(a)”).
        45
           Because the Court denied the Joint Motion to Intervene, Duaglo also has no standing to request
disbursement of the funds.
         46
           Even if the Court were to consider the original contract between Duaglo and Defendant as to the disposition
of the proceeds related to the Governeour Street Residence, that contract only provided Duaglo $12,681.55. Duaglo
now seeks to recover approximately $19,500—an increase of $7,000 with no basis in law or fact. In addition, Duaglo
and Claimant seek to obtain $5,000 in attorney fees from escrowed funds in which they have no legal right.



                                                          -20-


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previously determined that Claimant does not have a valid mechanic’s lien, and thus he is not

entitled to this money. Accordingly, the Court denies the Joint Motion for Disbursement.

C.       Defendant’s Motion for Joinder

         Defendant filed a Motion for Joinder seeking to join Duaglo’s and Claimant’s Joint

Motions for Intervention and Distribution of Funds. He simply reiterates Duaglo’s and Claimant’s

contentions. He also specifically disavows any interest in the escrowed funds.47 The Court grants

Defendant’s motion to join in Duaglo’s and Claimant’s motions. However, for the reasons stated

above, the Court denies both joint motions to intervene and for distribution of funds.

Consequently, Defendant’s motion for joinder provides him no relief.

D.       The Government’s Motion and Amended Motion for Order Restraining Property
         and Rights to Property

         On July 26, 2024, the Government filed a Motion for Order Restraining Property and

Rights to Property Available for Payment of Restitution. It requested that the Court enter an order

restraining Defendant, or any person or entity acting on his behalf, from completing any action

that would affect or diminish the marketability or value of Defendant’s real or personal property

available to pay restitution. Defendant failed to timely respond to this motion. During the hearing

on September 12, 2024, the Court noted its concerns with the overbreadth of the Government’s

motion.

         In turn, the Government filed an Amended Motion for Order Restraining Property and

Rights to Property. In this motion, the Government narrowed its request minimally. The




        47
            Presumably, Defendant will not file any other objections to the disposition of these funds as he states to
the Court that he disclaims any interest in them.



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                                                                                                                         51
Government moves the Court for an order seeking to restrain Defendant, his representatives,

agents, attorneys, associates, nominees, alter egos, and/or assignees from transferring,

encumbering, or wasting Defendant’s property or rights to property, whether held in his name, in

the name of his nominee, and/or in the name of any alter ego business, except as expressly

permitted by the Court. Defendant contends that the Government’s Amended Motion is overbroad,

lacks specific details as to what the Government seeks to restrain, and fails to state why it is

necessary.

        Here, the Court entered its restitution order on May 12, 2023, in the amount of $318,647.21.

As of July 26, 2024—the most recent date for which the Government provided an update on the

amount of restitution owed—Defendant’s outstanding balance was $316,683.93. On March 26,

2024, the Government sought formal discovery from Defendant seeking financial information. In

turn, Defendant filed a Motion to Quash or Motion for Sanctions. In the Court’s Order ruling on

Defendant’s motion, the Court recognized the Government’s right to use civil discovery when

enforcing an order of restitution. The Court rejected Defendant’s assertion that the discovery was

excessive and burdensome. Thus, the Court denied Defendant’s motion on June 13, 2024.

        Defendant appealed this Order to the Tenth Circuit.48 On July 23, 2024, the Court granted

Defendant’s Motion to Stay Enforcement of Memorandum and Order Pending Appeal. Thus,

while this matter is on appeal, discovery cannot continue, and the Government cannot obtain

additional information as to Defendant’s financial condition and information.49



        48
             The Court made other rulings in this Order due to Defendant’s numerous motions.
         49
            The Court notes that the appeal is moving slowly as Defendant only filed his initial brief on October 26,
2024, after requesting multiple extensions of time.



                                                       -22-


                                                                                                                        52
        The Government contends that to maintain the status quo and ensure that Defendant’s

property and rights to property are still available upon resolution of Defendant’s appeal, a

restraining order is necessary. The Court, however, fails to see the necessity. First, an order

restraining Defendant (and all representatives associated with him) from transferring,

encumbering, or wasting Defendant’s property does nothing to maintain the status quo as to

discovery. Discovery is simply a tool to ascertain whether Defendant has any additional assets

available for restitution. The Government seeks to go beyond the status quo. And there is already

an Order of Restitution which operates as “a lien in favor of the United States on all property and

rights to property of the person fined as if the liability of the person fined were a liability for a tax

assessed under the Internal Revenue Code of 1986.”50 Although the Government contends that

this lien does not necessarily prevent Defendant from transferring property, the fact remains that

the lien is in place and protects the Government’s interest.

        In addition, other than directing the Court to broad authority for enforcing an order of

restitution,51 the Government does not direct the Court to any cases or authority supporting the

imposition of a restraining order. Furthermore, in performing its own search, the Court found

scant caselaw addressing this issue. The Court finds the lack of legal authority significant.

        Finally, the Government’s request is imprecise and overbroad. The Court recognizes that

the Government cannot provide specific information as to the property it seeks to restrain due to

its inability to obtain formal discovery. The Government, however, has some knowledge of



        50
             18 U.S.C. § 3613(c).
         51
            The Government cites to general enforcement provisions (18 U.S.C. § 3664(m)(1)(A) and 28 U.S.C.
3202(a)) and to the All Writs Act, 28 U.S.C. § 1651.



                                                   -23-


                                                                                                              53
Defendant’s assets due to the Presentence Investigation Report (“PSI”) that was prepared in this

case on May 12, 2023. Although the Court previously found, and still finds, that the Government

is entitled to discovery as to Defendant’s assets despite the PSI, the Government is not completely

without knowledge. Furthermore, the Government seeks to not only restrain Defendant but also

his representatives, agents, attorneys, associates, nominees, alter egos, and/or assigns from

transferring, encumbering, or wasting Defendant’s property. This request is not narrowly tailored,

and the Government does not provide the Court with authority that it could restrain these

individuals.   Accordingly, the Court denies the Government’s Amended Motion for Order

Restraining Property and Rights to Property Available for Payment of Restitution.

       IT IS THEREFORE ORDERED that Claimant Charles Capps’s Objection to

Garnishment (entitled “Limited Appearance of Claimant Charles Capps to Object to Garnishment

and to Provide Notice of Interpleader Action”) (Doc. 174) is OVERRULED.

       IT IS FURTHER ORDERED that the Government’s Motion for Order Restraining

Property and Rights to Property Available for Payment of Restitution (Doc. 207) is DENIED AS

MOOT.

       IT IS FURTHER ORDERED that the Government’s Amended Motion for Order

Restraining Property and Rights to Property Available for Payment of Restitution (Doc. 211) is

DENIED.

       IT IS FURTHER ORDERED that Charles Capps’s and Duaglo LLC’s Joint Motion for

Distribution of Funds (Doc. 215) is DENIED.

       IT IS FURTHER ORDERED that Charles Capps’s and Duaglo’s Joint Motion to Allow

Intervention of Duaglo, LLC (Doc. 217) is DENIED.



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    IT IS FURTHER ORDERED that Defendant’s Motion for Joinder (Doc. 219) is

GRANTED.

    IT IS SO ORDERED.

    Dated this 5th day of November, 2024.




                                       ERIC F. MELGREN
                                       CHIEF UNITED STATES DISTRICT JUDGE




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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


  UNITED STATES OF AMERICA,

                   Plaintiff,




   vs.                                                      Case No. 21-10073-EFM

  MICHAEL R. CAPPS,

                   Defendant.




                                MEMORANDUM AND ORDER

         This matter is before the Court on Claimant Charles Capps’s Motion to Alter or Amend

(Doc. 233) the Court’s November 5, 2024, Memorandum and Order. In that Order, the Court ruled

on Claimant’s Objection to the Government’s Writ of Continuing Garnishment as to funds, in the

amount of $74,573.37, held by Security 1st Title, LLC. The funds at Security 1st are the proceeds

from a sale of a residence that Defendant Michael Capps used to own. Claimant, the son of

Defendant, asserted that he was entitled to $50,000 of those funds due to a mechanic’s lien. The

Court found that Claimant did not have a valid mechanic’s lien, and thus he was not entitled to

$50,000.

         Claimant requests that the Court alter its previous Order to specifically state the Court’s

conclusions of law on the application to, and effect on, the restitution lien at issue of 26 U.S.C.




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§ 7425, Revenue Ruling 68-57, and Revenue Ruling 54-154. For the reasons stated below, the

Court declines to do so and denies Claimant’s motion.

                           I.      Factual and Procedural Background

        The Court will only set forth a brief background here relevant to Claimant’s pending

motion. In February 2024, the Government obtained a Writ of Continuing Garnishment to property

held by Security 1st, and it filed a notice of the garnishment to interested party Charles Capps.

Claimant, represented by counsel, filed an Objection to the Writ of Continuing Garnishment. This

document was entitled “Limited Appearance of Claimant Charles Capps to Object to Garnishment

and to Provide Notice of Interpleader Action.” Claimant’s Objection was only two pages, but he

attached the Interpleader Action filed in state court. In the Interpleader Action, Claimant stated

that he had a mechanic’s lien in the amount of $50,000 in the escrowed funds at Security 1st and

that his lien took priority over other interests.

        The Government responded by arguing that Claimant did not have a valid mechanic’s lien

because he failed to comply with the statutory requirements of K.S.A. § 60-1102, or in the

alternative, Claimant’s mechanic’s lien was unenforceable pursuant to K.S.A. § 60-2414(k).

Subsequently, the Court directed Claimant to file a reply, and Claimant filed another “Objection

to Garnishment” (“Second Objection”) setting forth additional facts and arguing that the

Government did not have any right to the Security 1st funds. Claimant also requested a hearing.

Even though the Government objected to Claimant’s Second Objection, the Court did not strike it.

Instead, the Court acknowledged the procedural irregularities in the case and noted that the

Claimant continued to raise additional arguments. The Court stated that although it would address




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some of the additional issues raised, because Claimant failed to raise many of the issues in his

initial Objection, those issues were waived.

         The Court held a hearing on September 12, 2024 and requested supplemental briefing on

two limited issues. After receiving the supplemental briefing, and several weeks after the hearing,

Claimant’s attorney entered his appearance for Duaglo, LLC.1 Claimant and Duaglo filed joint

motions requesting Duaglo’s intervention into the case and requesting distribution of the entirety

of the Security 1st funds to Claimant, Duaglo, and their attorney.

         The Court issued an order on November 5, 2024, overruling Claimant’s objection and

finding that Claimant did not have a valid mechanic’s lien. In addition, the Court denied Claimant’s

and Duaglo’s joint motions requesting Duaglo’s intervention in the case and the distribution of the

Security 1st funds. Claimant is now before the Court requesting that the Court alter or amend its

Order.

                                              II.      Legal Standard

         Claimant docketed his motion as a Motion for Reconsideration (Alter or Amend). Claimant

does not reference a legal standard in his motion, but he filed it 28 days after the Court’s Order so

the Court will construe it as a motion under Rule 59. The Court has discretion whether to grant a

motion to reconsider.2 The Federal Rules of Civil Procedure do not formally recognize a “motion

to reconsider.”3 Instead, a post-judgment motion to reconsider “may arise under either Rule 59(e)



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           The Court will not set forth the entire history of Duaglo’s involvement here as it is set forth in the Court’s
prior order. Doc. 229. Briefly stated, when Defendant’s home was foreclosed upon, he had no money to redeem the
property, so he entered into an agreement with Duaglo to redeem the property.
         2
             See Hancock v. City of Okla. City, 857 F.2d 1394, 1395 (10th Cir. 1988).
         3
             See Van Skiver v. United States, 952 F.2d 1241, 1243 (10th Cir. 1991).



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(motion to alter or amend the judgment) or Rule 60(b) (relief from judgment for mistake or other

reason),” although the rules are not interchangeable.4 A motion for reconsideration under Rule

59(e) “gives the court the opportunity to correct manifest errors of law or fact and to review newly

discovered evidence.”5 The court should alter or amend its judgment where the court has

misapprehended the facts, the parties’ positions, or the controlling law.6 “A motion to reconsider

is not a second chance for the losing party to make its strongest case or to dress up arguments that

previously failed.”7 Such motions are not appropriate if the movant only wants the Court to revisit

issues already addressed or to hear new arguments or supporting facts that could have been

presented originally.8

                                                  III.     Analysis

        The Court notes that Claimant initially came before the Court by entering a limited

appearance and objecting to the Government’s Writ of Continuing Garnishment to funds held by

Security 1st. He asserted that he had a mechanic’s lien, in the amount of $50,000, and thus was

entitled to $50,000 of those funds. Over time, Claimant has sought to assert arguments on behalf

of a non-party (Duaglo) and on behalf of Defendant.9




        4
            Jennings v. Rivers, 394 F.3d 850, 854 (10th Cir. 2005) (further citations and quotations omitted).
        5
         Voelkel v. Gen. Motors Corp., 846 F. Supp. 1482, 1483 (D. Kan. 1994) (citing Comm. for First Amend. v.
Campbell, 962 F.2d 1517, 1523 (10th Cir.1992)).
        6
          Barber ex rel. Barber v. Colo. Dep’t of Revenue, 562 F.3d 1222, 1228 (10th Cir. 2009) (further citations
and quotations omitted).
        7
            Voelkel, 846 F. Supp. at 1483.
        8
            See Van Skiver, 952 F.2d at 1243.
        9
          In making these arguments, Claimant sought to obtain the full amount of the funds held by Security 1st
($74,573,37).



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         In this motion, Claimant does not contend that the Court erred in finding that he did not

have a valid mechanic’s lien. Indeed, he makes no argument as to his purported mechanic’s lien.

Instead, he requests that the Court address how 26 U.S.C. § 7425, Revenue Ruling 68-57, and

Revenue Ruling 54-154 affect the Government’s restitution lien. And he continues to assert

arguments on behalf of Duaglo and/or Defendant, arguing that the Government is not entitled to

the funds held by Security 1st, for which the Government has a Continuing Writ of Garnishment.

Claimant cannot do so. “[A] party ‘must assert his own legal rights and interests, and cannot rest

his claim to relief on the legal rights or interests of third parties.’”10 Furthermore, Claimant does

not meet the Rule 59 standard because he fails to identify any newly discovered evidence or

manifest errors of law or fact.11 Accordingly, the Court denies Claimant’s Motion to Alter or

Amend.

         IT IS THEREFORE ORDERED that Claimant’s Motion to Alter or Amend (Doc. 233)

is DENIED.

         IT IS SO ORDERED.

         Dated this 23rd day of January, 2025.




                                                       ERIC F. MELGREN
                                                       CHIEF UNITED STATES DISTRICT JUDGE


        10
           McDonald v. Van Houtte, 160 F. App’x 673, 674–75 (10th Cir. Dec. 7, 2005) (quoting Kowalski v. Tesmer,
543 U.S. 125, 129 (2004)).
         11
            The Court notes that Claimant does not specifically make the assertion that the Court should amend or alter
its denial of Claimant’s joint motions with Duaglo to intervene and for distribution of the funds. To the extent that he
does seek reconsideration of that ruling, however, he fails to direct the Court to any error in this ruling.



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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,
                                       Plaintiff,
v.                                                            Case No. 6:21CR10073-001-EFM

MICHAEL R. CAPPS,
                                       Defendant.



                  COMBINED NOTICE OF APPEAL AND CONDITIONAL
                  MOTION FOR EXTENSION OF TIME TO FILE NOTICE
                  OF APPEAL OF DUAGLO, LLC AND CHARLES CAPPS

          COME NOW Movants, Duaglo, LLC, and Charles Capps, and file a Notice of Appeal of

the Court’s decision entered November 6, 2024 and denying intervention by Duaglo, LLC, and the

Memorandum and Order entered January 23, 2025 (Dkt. 245) denying the mechanic’s lien claim

of Charles Capps.

          In support of the Conditional Motion to Extend, Movants show the Court as follows:

          1.     Movants occupy an unusual position in this criminal case against Defendant

Michael Capps. Movants are not the criminal defendants in the case subject to Fed.R.App.Proc.

(“FRAP”) § 4(b)(1)(A).

          2.     Movants also are not the Government, authorized to file a Notice of Appeal within

thirty days after entry of the judgment or order appealed under FRAP. § 4(b)(1)(B).

          3.     Instead, Movants are claimants to property subject to civil collection procedures to

enforce civil restitution orders under in a criminal case. See, e.g., Memorandum and Order entered

herein on June 13, 2024 (Dkt. 192), adjudicating exemptions claimed under the Treasury Offset

Program (“TOP”) and the Federal Debt Collection Procedures Act (“FDCPA”). 28 U.S.C. § 3,001,

et seq.



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       4.      Movants more nearly occupy the role of a civil party in a civil aspect of a criminal

case and should be subject to the Notice of Appeal deadline in a civil case under FRAP §

4(a)(1)(A).

       5.      Movants further would be entitled to file a Notice of Appeal in a civil case within

fourteen (14) days of the date that any other party files a timely Notice of Appeal under FRAP §

4(a)(3), and in any event, within thirty (30) days after entry after the relevant Order that marks the

beginning of the time for filing the Notice of Appeal. FRAP § 4(a)(4).

       6.      Michael Capps filed an early Notice of Appeal, which Notice of Appeal became

effective on January 23, 2025, the date of the Memorandum and Order (Dkt. 245).

       7.      In this unusual procedural position of a combined criminal proceedings and civil

restitution recovery, Movants request a protective extension of time to file a Notice of Appeal in a

criminal case pursuant to FRAP § 4(b)(4).

       WHEREFORE, Movants request:

       A.      An Order directing the notation of Movants’ Notice of Appeal; and

       B.      As a protective matter, an Order extending the time in which to file a Notice of

               Appeal in a criminal case.

                                               Respectfully submitted,

                                               KNOPP LAW GROUP P.A.

                                               By: /s/ Ted E. Knopp
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                                                  Attorney for Duaglo, LLC and Charles Capps


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                                CERTIFICATE OF SERVICE

     I certify that the foregoing was electronically filed with the Clerk of the Court by using the
CM/ECF system, which will send a notice to all parties receiving notices electronically.

                                              /s/ Ted E. Knopp
                                             Ted E. Knopp, SC #11437




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